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                                  EXHIBIT A

                                   The Plan
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                          UNITED STATES BANKRUPTCY COURT
                  CENTRAL DISTRICT OF CALIFORNIA – NORTHERN DIVISION

       In re:                                         Lead Case No. 9:20-bk-10554-DS

       CPESAZ Liquidating, Inc., et al.,             Jointly Administered With:
       EIN: XX-XXXXXXX
                                                      Case No. 9:20-bk-10553-DS
       NDS Liquidating, Inc.
       EIN: XX-XXXXXXX                               Case No. 9:20-bk-10994-DS
       CPESCA Liquidating, Inc.                       Chapter 11 Cases
       EIN: XX-XXXXXXX
                                                     DEBTORS’ FIRST AMENDED JOINT
              Debtors.                               CHAPTER 11 PLAN OF LIQUIDATION
       [•] Affects All Debtors
                                                       Plan Confirmation Hearing:
       [ ] CPESAZ Liquidating, Inc.                    Date: [To Be Scheduled]
       [ ] NDS Liquidating, Inc.                       Time: [To Be Scheduled]
       [ ] CPESCA Liquidating, Inc.                    Place: Courtroom 201
                                                       United States Bankruptcy Court
       Debtors and Debtors in Possession               1415 State Street
                                                       Santa Barbara, CA 93101
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                        1                                          INTRODUCTION

                        2          CPESAZ Liquidating, Inc., fka Community Provider of Enrichment Services, Inc. dba

                        3   CPES, Inc. (“CPES AZ”), NDS Liquidating, Inc., fka Novelles Developmental Services, Inc.

                        4   (“Novelles”), and CPESCA Liquidating, Inc. fka CPES California, Inc. (“CPES CA” and

                        5   collectively with CPES AZ and Novelles, the “Debtors”) as debtors and debtors in possession in

                        6   the above-captioned Chapter 11 Cases jointly propose this Plan for the resolution of outstanding

                        7   Claims against, and Interests in, the Debtors. Capitalized terms used in this Plan shall have the

                        8   meanings set forth in ARTICLE I below.

                        9          Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan

                       10   for each Debtor. Each Debtor is a proponent of the Plan within the meaning of section 1129 of the

                       11   Bankruptcy Code. The classifications of claims and interests set forth in ARTICLE III shall be

                       12   deemed to apply separately with respect to each Plan proposed by each Debtor, as applicable. The
                       13   Plan does not contemplate substantive consolidation of any of the Debtors. Reference is made to
                       14   the Disclosure Statement for a discussion of the Debtors’ history, business, properties and
                       15   operations, projections, risk factors, a summary and analysis of this Plan and certain related
                       16   matters.
                       17          ALL HOLDERS OF CLAIMS AND INTERESTS ARE ENCOURAGED TO READ THE
                       18   PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO
                       19   ACCEPT OR REJECT THE PLAN.
                       20                                              ARTICLE I

                       21                      DEFINED TERMS, RULES OF INTERPRETATION,

                       22         COMPUTATION OF TIME, GOVERNING LAW, AND OTHER REFERENCES

                       23   1.1    Defined Terms

                       24          1.      “Administrative Claim” means a Claim for costs and expenses of administration of

                       25   the Chapter 11 Cases pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the

                       26   Bankruptcy Code, including: (a) the actual and necessary costs and expenses incurred on or after

                       27   the Petition Date until and including the Effective Date of preserving the Estates and operating the

                       28   businesses of the Debtors; (b) Allowed Professional Claims; (c) all fees and charges assessed
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                        1   against the Estates pursuant to section 1930 of chapter 123 of title 28 of the United States Code;

                        2   and (d) any other obligation designated as an Allowed Administrative Claim pursuant to a Final

                        3   Order of the Bankruptcy Court.

                        4            2.    “Administrative Claims Bar Date” means the deadline for Filing requests for

                        5   payment of Administrative Claims, except as otherwise set forth in the Plan or a Final Order,

                        6   which: (a) with respect to Administrative Claims other than Professional Claims, shall be 30 days

                        7   after the Effective Date; and (b) with respect to Professional Claims, shall be 45 days after the

                        8   Effective Date; provided that Filing requests for payment of Administrative Claims is not required

                        9   where the Plan, Bankruptcy Code, or a Final Order does not require such Filing.

                       10            3.    “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

                       11            4.    “Allowed” means, as to a Claim or an Interest, that (a) such Claim or Interest was

                       12   expressly allowed under this Plan or otherwise by a Final Order, (b) proof of such Claim or Interest

                       13   was properly and timely filed in accordance with all applicable orders of the Bankruptcy Court

                       14   and provisions of the Plan, the Bankruptcy Code, and the Bankruptcy Rules, and the applicable

                       15   time for parties in interest to bring objections to allowance of such Claim or Interest has passed

                       16   (or if such an objection was brought by a party in interest, such objection has been determined by

                       17   a Final Order in favor of the Holder of such Claim or Interest), (c) such Claim or Interest has been

                       18   listed in the applicable Debtor’s Schedules or list of equity security Holders, as applicable, as

                       19   liquidated in amount and not disputed or contingent, and no contrary proof of Claim or Interest

                       20   has been filed on account of such Claim or Interest, or (d) a Claim or Interest as to which a Proof

                       21   of Claim or Proof of Interest, as applicable, was filed timely and as to which no objection was

                       22   filed.

                       23            5.    “Avoidance Actions” means any and all avoidance, recovery, subordination, or

                       24   other claims, actions, or remedies that may be brought by or on behalf of the Debtors or their

                       25   Estates or other authorized parties in interest under the Bankruptcy Code or applicable non-

                       26   bankruptcy law, including actions or remedies under sections 502, 510, 542, 544, 545, and 547

                       27   through and including 553 of the Bankruptcy Code.

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                        1          6.      “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. §§ 101–

                        2   1532, as may be amended from time to time.

                        3          7.      “Bankruptcy Court” means the United States Bankruptcy Court for the Central

                        4   District of California, Northern Division, or such other court having jurisdiction over the

                        5   Chapter 11 Cases.

                        6          8.      “Bankruptcy Rules” means, collectively, the following, as applicable to the Chapter

                        7   11 Cases: (a) the Federal Rules of Bankruptcy Procedure as promulgated by the United States

                        8   Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075, as

                        9   applicable to the Chapter 11 Cases, (b) the Local Bankruptcy Rules of the United States

                       10   Bankruptcy Court for the Central District of California, and (c) any applicable general orders or

                       11   chambers procedures of the Bankruptcy Court, all as may be amended from time to time.

                       12          9.      “Bar Date” means the dates established by the Bankruptcy Court by which Proofs

                       13   of Claim must be filed.

                       14          10.     “Beneficiary” means any Holder of an Allowed Claim that may, or that is entitled

                       15   to, receive a Distribution from the Liquidating Trust under the terms of the Plan and the

                       16   Liquidating Trust Agreement.

                       17          11.     “Business Day” means any day, other than a Saturday, Sunday, or a legal holiday,

                       18   as defined in Bankruptcy Rule 9006(a).

                       19          12.     “Cash” means the legal tender of the United States of America or the equivalent

                       20   thereof, including bank deposits and checks.

                       21          13.     “Causes of Action” means any and all claims, actions, causes of action, choses in

                       22   action, suits, debts, damages, dues, sums of money, accounts, reckonings, bonds, bills, specialties,

                       23   covenants, contracts, controversies, agreements, promises, variances, trespasses, judgments,

                       24   remedies, rights of set-off, third-party claims, subrogation claims, contribution claims,

                       25   reimbursement claims, indemnity claims, counterclaims, and crossclaims (including all claims and

                       26   any avoidance, recovery, subordination, or other actions against Insiders and/or any other Entities

                       27   under the Bankruptcy Code, including Avoidance Actions) of any of the Debtors, the debtors in

                       28   possession, and/or the Estates (including those actions set forth in the Plan Supplement), whether
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                        1   known or unknown, liquidated or unliquidated, fixed or contingent, matured or unmatured,

                        2   disputed or undisputed, that are or may be pending on the Effective Date or commenced by the

                        3   Liquidating Trustee after the Effective Date against any Entity, based in law or equity, including

                        4   under the Bankruptcy Code, whether direct, indirect, derivative, or otherwise and whether asserted

                        5   or unasserted as of the date of entry of the Confirmation Order.

                        6          14.     “Certificate” means any instrument evidencing a Claim or an Interest.

                        7          15.     “Chapter 11 Cases” means the procedurally consolidated chapter 11 cases pending

                        8   for the Debtors in the Bankruptcy Court.

                        9          16.     “Claim” means a claim, as defined in section 101(5) of the Bankruptcy Code,

                       10   against a Debtor.

                       11          17.     “Claims and Solicitation Agent” means BMC Group, the claims and solicitation

                       12   agent retained by the Debtors in the Chapter 11 Cases pursuant to order of the Bankruptcy Court.

                       13          18.     “Claims Objection Bar Date” means the deadline for objecting to a Claim, which

                       14   shall be on the date that is 180 days after the Effective Date, subject to extension by order of the

                       15   Bankruptcy Court upon the request by the Liquidating Trustee.

                       16          19.     “Claims Register” means the official register of Claims against or Interests in the

                       17   Debtors maintained by the Claims and Solicitation Agent.

                       18          20.     “Class” means a category of Holders of Claims or Interests under section 1122(a)

                       19   of the Bankruptcy Code.

                       20          21.     “Confirmation” means the entry of the Confirmation Order on the docket of the

                       21   Chapter 11 Cases.

                       22          22.     “Confirmation Date” means the date on which the Bankruptcy Court enters the

                       23   Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy

                       24   Rules 5003 and 9021.

                       25          23.     “Confirmation Hearing” means the hearing(s) before the Bankruptcy Court under

                       26   section 1128 of the Bankruptcy Code at which the Debtors seek entry of the Confirmation Order.

                       27          24.     “Confirmation Order” means the order of the Bankruptcy Court confirming the

                       28   Plan under section 1129 of the Bankruptcy Code.
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                        1          25.     “Consummation” means the occurrence of the Effective Date.

                        2          26.     “Creditor” has the meaning set forth in section 101(10) of the Bankruptcy Code.

                        3          27.     “D&O Insurance” means all primary and excess Insurance Policies that provide

                        4   coverage for liability related to the Litigation Claims, and, if applicable, “tail” or “runoff'”

                        5   coverage for such policies.

                        6          28.     “Debtors” means, collectively, each of the following (the debtors and debtors in

                        7   possession in the Chapter 11 Cases): CPESAZ Liquidating, Inc., fka Community Provider of

                        8   Enrichment Services, Inc. dba CPES, Inc.; NDS Liquidating, Inc., fka Novelles Developmental

                        9   Services, Inc.; and CPESCA Liquidating, Inc., fka CPES California, Inc.

                       10          29.     “Direct ESOP Claim” means solely and exclusively a direct cause of action held

                       11   by the ESOP Trustee or any other party with respect to the ESOP which, for the avoidance of

                       12   doubt, excludes any Causes of Action related to the ESOP held by the Debtors and their Estates.

                       13          30.     “Directors and Officers” means the current and former directors and officers of the

                       14   Debtors.

                       15          31.     “Disclosure Statement” means the Bankruptcy Court-approved disclosure

                       16   statement for the Plan as may be amended, supplemented, or modified from time to time, including

                       17   all exhibits and schedules thereto.

                       18          32.     “Disputed” means, as to a Claim or an Interest, that the Claim or an Interest is not

                       19   yet Allowed.

                       20          33.     “Disputed Claim Reserve” means a reserve established by the Debtors prior to the

                       21   Effective Date and funded with Cash in the amount of $1,500,000.00 for the payment of Disputed

                       22   Claims, if and to the extent that they should become Allowed Claims, as well as any future Claims

                       23   that are unknown as of the Effective Date and are Allowed or otherwise determined by the

                       24   Liquidating Trustee or the Court to be properly asserted against the Estates.

                       25          34.     “Distribution” means Cash, property, interests in property or other value distributed

                       26   to Holders of Allowed Claims, or their designated agents, or Beneficiaries, as applicable, under

                       27   the Plan and/or the Liquidating Trust Agreement.

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                        1          35.     “Distribution Agent” means the Debtors, the Liquidating Trustee, or the Entity or

                        2   Entities selected by the Debtors or the Liquidating Trustee, to make or facilitate distributions

                        3   contemplated under the Plan.

                        4          36.     “Distribution Date” means the date or dates determined by the Liquidating Trustee

                        5   in accordance with the terms of the Plan and the Liquidating Trust Agreement upon which the

                        6   Liquidating Trustee shall make Distributions to Holders of Allowed Claims entitled to receive

                        7   Distributions under the Plan.

                        8          37.     “Distribution Proceeds” means all Cash of the Debtors available on the Effective

                        9   Date, including any proceeds of the Sale Transactions, and any funds received after the Effective

                       10   Date, after (a) the payment of all Allowed Secured Claims, Allowed Administrative Claims,

                       11   Allowed Priority Claims, Allowed General Unsecured Claims, and (b) the creation and funding of

                       12   the Disputed Claims Reserve, the Professional Fee Escrow Account, and the Wind-Down Reserve.

                       13          38.     “Distribution Record Date” means the record date for purposes of making

                       14   Distributions under the Plan and the Liquidating Trust Agreement on account of Allowed Claims,

                       15   which date or dates shall be set forth in the Liquidating Trust Agreement.

                       16          39.     “Effective Date” means the date that is the first Business Day after the Confirmation

                       17   Date on which all conditions precedent to the occurrence of the Effective Date set forth in Section

                       18   10.1 have been satisfied or waived in accordance with Section 10.2.

                       19          40.     “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

                       20          41.     “Equity Interest” means any Equity Security in any Debtor, including, without

                       21   limitation, all issued, unissued, authorized or outstanding shares of stock.

                       22          42.     “Equity Security” means an “equity security” as defined in section 101(16) of the

                       23   Bankruptcy Code.

                       24          43.     “ESOP” means the CPES Employee Stock Ownership Plan, together with the CPES

                       25   Employee Stock Ownership Trust.

                       26          44.     “ESOP Trustee” means Miguel Parades in his capacity as Trustee of the ESOP and

                       27   his successors and assigns.

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                        1          45.     “Estate” means the bankruptcy estate of any Debtor created under sections 301 and

                        2   541 of the Bankruptcy Code upon the commencement of the Chapter 11 Cases.

                        3          46.     “Exculpated Party” means each of the following in its capacity as such: (a) the

                        4   Debtors; (b) the Patient Care Ombudsman, and (c) with respect to each of the foregoing, such

                        5   Entity’s successors and assigns and current affiliates, subsidiaries, officers, directors, trustees,

                        6   principals, employees, agents, financial advisors, attorneys, accountants, investment bankers,

                        7   consultants, representatives, and other Professionals.

                        8          47.     “Executory Contract” means a contract or lease to which one or more of the Debtors

                        9   is a party that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

                       10          48.     “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Cases with

                       11   the Bankruptcy Court or, with respect to the filing of a Proof of Claim or proof of Interest, the

                       12   Claims and Solicitation Agent.

                       13          49.     “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.

                       14          50.     “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court

                       15   or other court of competent jurisdiction with respect to the relevant subject matter, which has not

                       16   been reversed, stayed, modified, or amended, and as to which the time to appeal or seek certiorari

                       17   has expired and no appeal or petition for certiorari has been timely taken, or as to which any appeal

                       18   that has been taken or any petition for certiorari that has been or may be filed has been resolved

                       19   by the highest court to which the order or judgment could be appealed or from which certiorari

                       20   could be sought or the new trial, reargument, or rehearing shall have been denied, resulted in no

                       21   modification of such order, or has otherwise been dismissed with prejudice; provided that the

                       22   possibility of a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous

                       23   rule under the Bankruptcy Rules or applicable non-bankruptcy law, may be filed relating to such

                       24   order or judgment shall not prevent such order or judgment from being a Final Order.

                       25          51.     “General Unsecured Claim” means any Claim other than an Administrative Claim,

                       26   a Professional Claim, a Secured Tax Claim, an Other Secured Claim, a Priority Tax Claim, an

                       27   Other Priority Claim, or an Intercompany Claim.

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                        1          52.     “Governmental Unit” has the meaning set forth in section 101(27) of the

                        2   Bankruptcy Code.

                        3          53.     “Holder” means an Entity holding a Claim or an Interest, as the context requires.

                        4          54.     “Impaired” means, with respect to any Class of Claims or Interests, a Claim or an

                        5   Interest that is not Unimpaired.

                        6          55.     “Insider” has the meaning set forth in section 101(31) of the Bankruptcy Code.

                        7          56.     “Insurance Policies” means all insurance policies of the Debtors, including any

                        8   D&O Insurance.

                        9          57.     “Intercompany Claim” means any Claim held by a Debtor against another Debtor.

                       10          58.     “Intercompany Interest” means an Interest in one Debtor held by another Debtor.

                       11          59.     “Interest” means any equity security (as defined in section 101(16) of the

                       12   Bankruptcy Code) in any Debtor.

                       13          60.     “Interim Compensation Order” means the order of the Bankruptcy Court

                       14   establishing procedures for interim compensation and reimbursement of expenses of professionals.

                       15          61.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as

                       16   may be amended from time to time.

                       17          62.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

                       18          63.     “Liquidating Trust” means the trust established on the Effective Date as described

                       19   in Section VIII of the Plan and in accordance with the Liquidating Trust Agreement.

                       20          64.     “Liquidating Trust Advisors” means any firm(s) or individual(s) retained by the

                       21   Liquidating Trustee in accordance with the terms of the Liquidating Trust Agreement to serve as

                       22   legal counsel for the Liquidating Trust or to provide other professional services for the Liquidating

                       23   Trust in connection with the performance of the Liquidating Trustee’s duties and responsibilities

                       24   under the Plan and the Liquidating Trust Agreement.

                       25          65.     “Liquidating Trust Agreement” means the trust agreement establishing the

                       26   Liquidating Trust described in Article IV of the Plan, and which shall be filed in draft form as part

                       27   of the Plan Supplement.

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                        1          66.     “Liquidating Trust Assets” means (a) all assets, interests, and rights of the Debtors

                        2   and their Estates that exist as of the Effective Date (whether received or acquired on or after the

                        3   occurrence of the Effective Date) and any proceeds thereof, whether choate or inchoate, wherever

                        4   and by whomever held, including, inter alia, the Debtors’ Cash, Causes of Action, Insurance

                        5   Policies, books and records, all of which shall be transferred to the Liquidating Trust on the

                        6   Effective Date pursuant to the terms of this Plan; (b) the property or assets vested in the Liquidating

                        7   Trust or the Liquidating Trustee pursuant to the terms of this Plan on or after the Effective Date,

                        8   and (c) any and all Litigation Claims and Litigation Proceeds.

                        9          67.     “Liquidating Trust Operating Expenses” means the overhead and other operational

                       10   expenses of the Liquidating Trust including, but not limited to, (a) reasonable compensation for

                       11   the Liquidating Trustee and members of the Trust Oversight Committee (which expenses shall not

                       12   include professional fees of such members) in accordance with the Liquidating Trust Agreement,

                       13   (b) costs and expenses incurred by the Liquidating Trustee in administering the Liquidating Trust,

                       14   (c) Statutory Fees incurred after the Effective Date to the U.S. Trustee, and (d) any fees and

                       15   expenses payable to the Liquidating Trust Advisors.

                       16          68.     “Liquidating Trustee” means the Person or Persons selected by the Debtors, with

                       17   the consent of the ESOP Trustee, and after consultation with other parties in interest, and appointed

                       18   to administer the Liquidating Trust, which shall be disclosed in the Plan Supplement, with such

                       19   rights, duties, and obligations as set forth in the Plan and in the Liquidating Trust Agreement.

                       20          69.     “Litigation Claims” means any and all Causes of Action of any Debtor and/or any

                       21   of the Estates against any Entity, including but not limited to, (a) all claims and Causes of Action

                       22   related to or arising out of the ESOP that are not Direct ESOP Claims, (b) the Preserved D&O

                       23   Claims, (c) all claims and Causes of Action arising under Chapter 5 of the Bankruptcy Code (other

                       24   than Causes of Action that constitute Purchased Assets), and (d) all claims and Causes of Action

                       25   against insiders of the Debtors.

                       26          70.     “Litigation Proceeds” means the net proceeds of the Litigation Claims.

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                        1           71.    “Other Priority Claim” means any Claim other than an Administrative Claim or a

                        2   Priority Tax Claim entitled to priority in right of payment under section 507(a) of the Bankruptcy

                        3   Code.

                        4           72.    “Other Secured Claim” means any Secured Claim other than a Secured Tax Claim.

                        5           73.    “Patient Care Ombudsman” means Timothy J. Stacy, in his capacity as patient care

                        6   ombudsman, as appointed by the U.S. Trustee [Dkt. 290].

                        7           74.    “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

                        8           75.    “Petition Date” means the date on which each of the Debtors filed their petitions

                        9   for relief commencing the Chapter 11 Cases.

                       10           76.    “Plan” means this chapter 11 plan, as it may be altered, amended, modified, or

                       11   supplemented from time to time, including the Plan Supplement and all exhibits, supplements,

                       12   appendices, and schedules.

                       13           77.    “Plan Documents” means the Plan, the Disclosure Statement, the Plan Supplement,

                       14   and the various agreements and other documents formalizing or implementing the Plan and the

                       15   transactions contemplated thereunder.

                       16           78.    “Plan Supplement” means the compilation of documents and forms of documents,
                       17   schedules, and exhibits to the Plan, to be Filed by the Debtors no later than five (5) Business Days
                       18   before the Plan objection deadline or such later date as may be approved by the Bankruptcy Court
                       19   on notice to parties in interest, and additional documents Filed with the Bankruptcy Court before
                       20   the Effective Date as amendments to the Plan Supplement. The Plan Supplement shall include the

                       21   Liquidating Trust Agreement, the Retained Causes of Action List; and any and all other

                       22   documentation necessary to effectuate the Plan or that is contemplated by the Plan. The Debtors

                       23   shall have the right to amend the documents contained in, and exhibits to, the Plan Supplement

                       24   through the Effective Date in accordance with ARTICLE XI hereof.

                       25           79.    “Preserved D&O Claims” means any and all claims and Causes of Action (together

                       26   with any proceeds thereof, including any proceeds of the D&O Insurance) held by the Debtors and

                       27   their Estates against the Debtors’ Directors and Officers, solely in their capacities as such,

                       28   including those claims and Causes of Action that are not currently asserted, but could be asserted
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                        1   against them, including but not limited to, Claims held by the Debtors and their Estates relating to

                        2   the ESOP.

                        3          80.     “Priority Claims” means, collectively, Priority Tax Claims and Other Priority

                        4   Claims.

                        5          81.     “Priority Tax Claim” means any Claim of a Governmental Unit of the kind

                        6   specified in section 507(a)(8) of the Bankruptcy Code.

                        7          82.     “Privilege” means the attorney client privilege, work product protections or other

                        8   immunities (including without limitation those related to common interests or joint defenses with

                        9   other parties), or protections from disclosure of any kind held by the Debtors or their Estates.

                       10          83.     “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in

                       11   a particular Class bears to the aggregate amount of Allowed Claims or Allowed Interests in that

                       12   Class, or the proportion that Allowed Claims or Allowed Interests in a particular Class bear to the

                       13   aggregate amount of Allowed Claims or Allowed Interests in a particular Class and other Classes

                       14   entitled to share in the same recovery as such Allowed Claim or Interest under the Plan.

                       15          84.     “Pro Rata Share” means the ratio (expressed as a percentage) of the amount of an

                       16   Allowed Interest or Claim in a Class to the aggregate amount of all Allowed Interests or Claims in

                       17   the same Class.

                       18          85.     “Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant to

                       19   a Final Order in accordance with sections 327 and 1103 of the Bankruptcy Code and to be

                       20   compensated for services rendered prior to or on the Effective Date pursuant to sections 327, 328,

                       21   329, 330, and 331 of the Bankruptcy Code or (b) for which compensation and reimbursement has

                       22   been Allowed by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

                       23          86.     “Professional Claim” means a Claim by a Professional seeking an award by the

                       24   Bankruptcy Court of compensation for services rendered or reimbursement of expenses incurred

                       25   through and including the Effective Date under sections 328, 330, 331, 503(b)(2), 503(b)(3),

                       26   503(b)(4), or 503(b)(5) of the Bankruptcy Code.

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                        1           87.    “Professional Fee Escrow Account” means an interest-bearing account in an

                        2   amount equal to the total Professional Fee Reserve Amount funded by the Liquidating Trustee on

                        3   the Effective Date.

                        4           88.    “Professional Fee Reserve Amount” means the aggregate amount of Professional

                        5   Claims that the Professionals estimate they have incurred or will incur in rendering service to the

                        6   Estates prior to and as of the Effective Date, which estimates Professionals shall deliver to the

                        7   Debtors as set forth in Section 2.2 hereof.

                        8           89.    “Proof of Claim” means a proof of Claim filed against any of the Debtors in the

                        9   Chapter 11 Cases.

                       10           90.    “Proof of Interest” means a proof of Interest filed with respect to any of the Debtors

                       11   in the Chapter 11 Cases.

                       12           91.    “Purchased Assets” means all assets transferred, conveyed, sold, and assigned to

                       13   the Purchasers under and in connection with the consummation of the Sale Transactions under the

                       14   Sale Documents.

                       15           92.    “Purchaser” means each purchaser of assets of any Debtor pursuant to section 363

                       16   of the Bankruptcy Code, together with its successors and permitted assigns.

                       17           93.    “Reinstated” or “Reinstatement” means, with respect to Claims or Interests, that the

                       18   Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy

                       19   Code.

                       20           94.    “Rejection Damages Claim” means a Claim for damages arising out of the rejection

                       21   of an Executory Contract.

                       22           95.    “Related Persons” means, with respect to any Person, such Person’s predecessors,

                       23   successors, assigns and present and former shareholders, affiliates (whether by operation of law or

                       24   otherwise), subsidiaries, principals, employees, agents, officers, directors, managers, trustees,

                       25   partners, members, professionals, representatives, advisors, attorneys, financial advisors,

                       26   accountants, investment bankers, and consultants, and any Person claiming by or through them,

                       27   each in their capacities as such.

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                        1          96.      “Released Parties” means the Debtors and their Related Persons; provided,

                        2   however, that the Released Parties shall not include any of the Debtors’ Directors and Officers.

                        3          97.      “Retained Causes of Action List” means a list of all retained Causes of Action of

                        4   the Debtors, identified in the Plan Supplement.

                        5          98.      “Sale Documents” means the asset purchase agreements, the orders, and all

                        6   documents, instruments, and agreements executed and delivered in connection with the

                        7   consummation of the transactions contemplated thereby.

                        8          99.      “Sale Transaction” means the sales of the Debtors’ assets to the Purchasers in

                        9   accordance with the Sale Documents.

                       10          100.     “Schedules” means collectively, the schedules of assets and liabilities, schedules of

                       11   Executory Contracts and Unexpired Leases, and statements of financial affairs Filed by the

                       12   Debtors pursuant to section 521 of the Bankruptcy Code and in substantial accordance with the

                       13   Official Bankruptcy Forms, as the same may have been amended, modified, or supplemented from

                       14   time to time.

                       15          101.     “Secured Claim” means a Claim: (a) secured by a Lien on collateral to the extent

                       16   of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy

                       17   Code or (b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

                       18          102.     “Secured Tax Claim” means any Secured Claim that, absent its secured status,

                       19   would be entitled to priority in right of payment under section 507(a)(8) of the Bankruptcy Code

                       20   (determined irrespective of time limitations), including any related Secured Claim for penalties.

                       21          103.     “Seller” means, the Debtor that is a Seller under the applicable Purchase

                       22   Agreement.

                       23          104.     “Solicitation Procedures Order” means any order, including the exhibits and

                       24   schedules thereto, entered by the Bankruptcy Court establishing procedures with respect to the

                       25   solicitation and tabulation of votes to accept or reject the Plan and approving the Disclosure

                       26   Statement [Dkt. [·]].

                       27          105.     “Statutory Fees” means any and all fees payable to the U.S. Trustee under section

                       28   1930 of title 28 of the United States Code and any interest thereupon.
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                        1           106.     “Transition Services Agreement” means that certain Transition Services Agreement

                        2   effective as of November 16, 2020 by and among the Debtors and REM California, LLC.

                        3           107.     “Trust Oversight Committee” means the committee formed on the Effective Date

                        4   to be selected by the Debtors, with the consent of the ESOP Trustee, and identified in the Plan

                        5   Supplement for the purposes set forth in the Liquidating Trust Agreement.

                        6           108.     “Unclaimed Distribution” means any distribution under the Plan on account of an

                        7   Allowed Claim or Interest to a Holder that has not: (a) accepted a particular distribution or, in the

                        8   case of distributions made by check, negotiated such check; (b) given notice to the Liquidating

                        9   Trustee of an intent to accept a particular distribution; (c) responded to the Liquidating Trustee’s

                       10   requests for information necessary to facilitate a particular distribution; or (d) taken any other

                       11   action necessary to facilitate such distribution.

                       12           109.     “Unexpired Lease” means a lease of nonresidential real property to which one or

                       13   more of the Debtors is a party that is subject to assumption or rejection under section 365 of the

                       14   Bankruptcy Code.

                       15           110.     “Unimpaired” means a Class of Claims or Interests that is unimpaired within the

                       16   meaning of section 1124 of the Bankruptcy Code.

                       17           111.     “U.S. Trustee” means the Office of the United States Trustee for the Central District

                       18   of California.

                       19           112.     “Voting Deadline” means [·], 2021 at 5:00 p.m. (prevailing Pacific Time).

                       20           113.     “Wind-Down” means the wind-down and dissolution of the Debtors and their

                       21   Estates following the Effective Date as set forth in Section 5.12 hereof.

                       22           114.     “Wind-Down Reserve” means a segregated account established by the Liquidating

                       23   Trustee on the Effective Date and funded with Cash in an amount determined by the Liquidating

                       24   Trustee, in the exercise of its reasonable discretion, to satisfy the expenses of the Liquidating

                       25   Trustee (including, for the avoidance of doubt, the compensation of the Liquidating Trustee) as set

                       26   forth in the Plan.

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                        1   1.2     Rules of Interpretation

                        2           For purposes of the Plan: (1) in the appropriate context, each term, whether stated in the

                        3   singular or the plural, shall include both the singular and the plural, and pronouns stated in the

                        4   masculine, feminine, or neuter gender shall include the masculine, feminine, and the neuter gender;

                        5   (2) unless otherwise specified, any reference herein to a contract, lease, instrument, release,

                        6   indenture, or other agreement or document being in a particular form or on particular terms and

                        7   conditions means that the referenced document shall be substantially in that form or substantially

                        8   on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing

                        9   document, schedule, or exhibit, whether or not Filed, having been Filed or to be Filed shall mean

                       10   that document, schedule, or exhibit as it may thereafter be amended, modified, or supplemented;

                       11   (4) any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s successors

                       12   and assigns; (5) unless otherwise specified, all references herein to “Articles” are references to

                       13   Articles hereof or hereto; (6) unless otherwise specified, all references herein to exhibits are

                       14   references to exhibits in the Plan Supplement; (7) unless otherwise specified, the words “herein,”

                       15   “hereof,” and “hereto” refer to the Plan in its entirety rather than to a particular portion of the Plan;

                       16   (8) captions and headings to Articles are inserted for convenience of reference only and are not

                       17   intended to be a part of or to affect the interpretation of the Plan; (9) unless otherwise specified

                       18   herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (10)

                       19   any term used in capitalized form herein that is not otherwise defined but that is used in the

                       20   Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the

                       21   Bankruptcy Code or the Bankruptcy Rules, as the case may be; (11) all references to docket

                       22   numbers of documents Filed in the Chapter 11 Cases are references to the docket numbers under

                       23   the Bankruptcy Court’s CM/ECF system; (12) all references to statutes, regulations, orders, rules

                       24   of courts, and the like shall mean as amended from time to time, and as applicable to the Chapter

                       25   11 Cases, unless otherwise stated; (13) any immaterial effectuating provisions may be interpreted

                       26   by the Debtors or the Liquidating Trustee in such a manner that is consistent with the overall

                       27   purpose and intent of the Plan, all without further notice to, or action, order, or approval of, the

                       28   Bankruptcy Court or any other Entity; and (14) except as otherwise specifically provided in the
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                        1   Plan to the contrary, any reference to the “Liquidating Trustee” shall be deemed to include a

                        2   reference to the “Liquidating Trust” and any reference to the “Liquidating Trust” shall be deemed

                        3   to include a reference to the “Liquidating Trustee” unless the context otherwise requires.

                        4   1.3       Computation of Time

                        5             Bankruptcy Rule 9006(a) applies in computing any period of time prescribed or allowed

                        6   herein.

                        7   1.4       Governing Law

                        8             Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy

                        9   Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of

                       10   Arizona, without giving effect to the principles of conflict of laws, shall govern the rights,

                       11   obligations, construction, and implementation of the Plan, any agreements, documents,

                       12   instruments, or contracts executed or entered into in connection with the Plan (except as otherwise

                       13   set forth in those agreements, in which case the governing law of such agreement shall control);

                       14   provided that corporate governance matters relating to the Debtors shall be governed by the laws

                       15   of the state of incorporation or formation of the relevant Debtor, as applicable.

                       16   1.5       Reference to Monetary Figures
                       17             All references in the Plan to monetary figures refer to currency of the United States of
                       18   America, unless otherwise expressly provided.
                       19   1.6       Controlling Document
                       20             In the event of an inconsistency between the Plan and the Disclosure Statement, the terms

                       21   of the Plan shall control in all respects. In the event of an inconsistency between the Plan and any

                       22   document included in the Plan Supplement, the terms of the relevant provision in the Plan shall

                       23   control (unless stated otherwise in such document or in the Confirmation Order). In the event of

                       24   an inconsistency between the Confirmation Order and the Plan, the Confirmation Order shall

                       25   control.

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                        1   1.7    Nonconsolidated Plan

                        2          Although for purposes of administrative convenience and efficiency the Plan has been filed

                        3   as a joint plan for each of the Debtors and presents together Classes of Claims against, and Interests

                        4   in, the Debtors, the Plan does not provide for the substantive consolidation of any of the Debtors.

                        5                                               ARTICLE II

                        6                           ADMINISTRATIVE AND PRIORITY CLAIMS

                        7          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,

                        8   Professional Claims, Priority Tax Claims, and Statutory Fee Claims have not been classified and

                        9   thus are excluded from the Classes of Claims set forth in ARTICLE III.

                       10   2.1    Administrative Claims
                       11          Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the
                       12   Debtors or the Liquidating Trustee, as applicable, each Holder of an Allowed Administrative
                       13   Claim (other than Holders of Professional Claims and Statutory Fee Claims will receive in full and
                       14   final satisfaction of its Administrative Claim an amount of Cash equal to the amount of such
                       15   Allowed Administrative Claim either: (a) on the Effective Date, or as soon as practicable
                       16   thereafter; (b) if the Administrative Claim is not Allowed as of the Effective Date, no later than 30
                       17   days after the date on which an order Allowing such Administrative Claim becomes a Final Order,
                       18   or as soon as reasonably practicable thereafter; or (c) if the Allowed Administrative Claim is based
                       19   on liabilities incurred by the Debtors in the ordinary course of their business after the Petition Date,
                       20   then in accordance with the terms and conditions of the particular transaction giving rise to such

                       21   Allowed Administrative Claims without any further action by the Holders of such Allowed

                       22   Administrative Claims.

                       23   2.2    Professional Claims

                       24          (a)     Final Fee Applications and Payment of Professional Claims

                       25          All final requests for payment of Professional Claims incurred during the period from the

                       26   Petition Date through the Effective Date shall be Filed no later than 45 days after the Effective

                       27   Date. All such final requests will be subject to approval by the Bankruptcy Court after notice and

                       28   a hearing in accordance with the procedures established by the Bankruptcy Code, Bankruptcy
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                        1   Rules, and prior orders of the Bankruptcy Court, and once approved by the Bankruptcy Court,

                        2   shall be promptly paid from the Professional Fee Escrow Account up to the full Allowed amount.

                        3   To the extent that funds held in the Professional Fee Escrow Account are insufficient to satisfy the

                        4   amount of Professional Claims owing to the Professionals, such Professionals shall have an

                        5   Allowed Administrative Claim for any such deficiency, and the Liquidating Trustee shall pay the

                        6   full unpaid amount of such Allowed Administrative Claim in Cash.

                        7          (b)     Professional Fee Escrow Account

                        8          On the Effective Date, the Liquidating Trustee shall establish and fund the Professional

                        9   Fee Escrow Account with Cash equal to the Professional Fee Reserve Amount. The Professional

                       10   Fee Escrow Account shall be maintained in trust solely for the Professionals. Such funds shall not

                       11   be considered property of the Estates. The amount of Professional Claims owing to the

                       12   Professionals shall be paid in Cash to such Professionals by the Liquidating Trustee as soon as

                       13   reasonably practicable after such Professional Claims are Allowed. When all Allowed amounts

                       14   owing to the Professionals have been paid in full, any amount remaining in the Professional Fee

                       15   Escrow Account shall promptly be paid to the Liquidating Trustee without any further action or

                       16   order of the Bankruptcy Court. If the Professional Fee Escrow Account is insufficient to fund the

                       17   full Allowed amounts of Professional Claims, the remaining unpaid Allowed Professional Fee

                       18   Claims will be paid by the Liquidating Trustee.

                       19          (c)     Professional Fee Reserve Amount

                       20          Professionals shall reasonably estimate their unpaid Professional Claims, and shall deliver

                       21   such estimate to the Debtors no later than five days before the Effective Date; provided that such

                       22   estimate shall not be deemed to limit the amount of the fees and expenses that are the subject of

                       23   the Professional’s final request for payment of Professional Fee Claims. If a Professional does not

                       24   provide an estimate, the Debtors or the Liquidating Trustee may estimate the unpaid and unbilled

                       25   fees and expenses of such Professional.

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                        1   2.3    Priority Tax Claims

                        2          Each Holder of an Allowed Priority Tax Claim shall receive, on the Effective Date or as

                        3   soon as practicable thereafter, payment in Cash in an amount equal to the amount of such Allowed

                        4   Priority Tax Claim.

                        5   2.4    Statutory Fees

                        6          All fees due and payable pursuant to section 1930 of Title 28 of the United States Code

                        7   before the Effective Date shall be paid by the Debtors. On and after the Effective Date, the

                        8   Liquidating Trustee, on behalf of the Debtors, shall pay any and all such fees when due and

                        9   payable, and shall File with the Bankruptcy Court quarterly reports in a form reasonably acceptable

                       10   to the U.S. Trustee. Each Debtor shall remain obligated to pay quarterly fees to the U.S. Trustee

                       11   until the earliest of the applicable Debtor’s Chapter 11 Case being closed, dismissed, or converted

                       12   to a case under chapter 7 of the Bankruptcy Code.

                       13   2.5    ESOP
                       14          Any Holder of a beneficial interest in the ESOP wishing to vote on the Plan must hold a
                       15   Claim against the Debtors in Class 3 that is separate and apart from a Direct ESOP Claim. Any
                       16   Direct ESOP Claims held by the Holders of beneficial interests in the ESOP on account of their
                       17   beneficial interest in the ESOP will be asserted by the ESOP Trustee, in his discretion, on behalf
                       18   of all Holders of beneficial interests in the ESOP. Notwithstanding anything to the contrary in this
                       19   Plan, the ESOP Trustee shall retain responsibility, standing, and authority to commence, prosecute
                       20   and settle lawsuits or actions on behalf of the Holders of beneficial interests in the ESOP.

                       21                                             ARTICLE III

                       22     CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND INTERESTS

                       23   3.1    Classification of Claims and Interests

                       24          Except for the Claims addressed in ARTICLE II, all Claims and Interests are classified in

                       25   the Classes set forth below in accordance with section 1122 of the Bankruptcy Code. Because this

                       26   Plan constitutes a separate Plan proposed by each Debtor, each of the general Classes below shall

                       27   be deemed a separate Class with respect to Claims against or Interests in each applicable Debtor

                       28   for all purposes. A Claim or Interest is classified in a particular Class only to the extent that the
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                        1   Claim or Interest qualifies within the description of that Class and is classified in other Classes to

                        2   the extent that any portion of the Claim or Interest qualifies within the description of such other

                        3   Classes. A Claim or Interest is also classified in a particular Class for the purpose of receiving

                        4   distributions pursuant to the Plan only to the extent that such Claim or Interest is an Allowed Claim

                        5   or Interest in that Class and has not been paid, released, or otherwise satisfied prior to the Effective

                        6   Date.

                        7             Below is a chart assigning each Class a number for purposes of identifying each separate

                        8   Class.

                        9     Class                Claim or Interest              Status             Voting Rights

                       10         1          Other Secured Claims              Unimpaired           Presumed to Accept
                       11         2          Other Priority Claims             Unimpaired           Presumed to Accept
                       12         3          General Unsecured Claims          Impaired             Entitled to Vote
                       13         4          Intercompany Claims               Impaired             Deemed to Reject
                       14         5          Intercompany Interests            Unimpaired           Presumed to Accept
                       15         6          Equity Interests                  Impaired             Entitled to Vote
                       16   3.2       Treatment of Classes of Claims and Interests
                       17             Except to the extent that a Holder of an Allowed Claim or Interest, as applicable, agrees to
                       18   a less favorable treatment, such Holder shall receive under the Plan the treatment described below
                       19   in full and final satisfaction, settlement, release, and discharge of and in exchange for such
                       20   Holder’s Allowed Claim or Interest. Unless otherwise indicated, the Holder of an Allowed Claim
                       21   or Interest, as applicable, shall receive such treatment on the Effective Date, or as soon as
                       22   practicable thereafter.
                       23             (a)    Class 1 — Other Secured Claims
                       24                    (1)      Classification: Class 1 consists of all Other Secured Claims against the
                       25   Debtors.
                       26                    (2)      Treatment: Except to the extent that a Holder of an Allowed Other Secured
                       27   Claim agrees to a less favorable treatment, in settlement, and release of each Allowed Other
                       28   Secured Claim, each Holder of an Allowed Other Secured Claim shall be paid in full in Cash.
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                        1   Allowed Other Secured Claims shall be paid as soon as reasonably practicable after the later of the

                        2   Effective Date and the date on which such Other Secured Claim becomes an Allowed Other

                        3   Secured Claim.

                        4                  (3)     Voting: Class 1 is Unimpaired. Each Holder of an Allowed Class 1 Claim

                        5   is conclusively presumed to have accepted the Plan under section 1126(f) of the Bankruptcy Code.

                        6   Each Holder of an Allowed Class 1 Claim is not entitled to vote to accept or reject the Plan.

                        7            (b)   Class 2 — Other Priority Claims

                        8                  (1)     Classification: Class 2 consists of all Other Priority Claims against the

                        9   Debtors.

                       10                  (2)     Treatment: Except to the extent that a Holder of an Allowed Other Priority

                       11   Claim agrees to a less favorable treatment, in settlement, and release of each Allowed Other

                       12   Priority Claim, each Holder of an Allowed Other Priority Claim shall be paid in full in Cash.

                       13   Allowed Other Priority Claims shall be paid as soon as reasonably practicable after the later of the

                       14   Effective Date and the date on which such Other Priority Claim becomes an Allowed Other Priority

                       15   Claim.

                       16                  (3)     Voting: Class 2 is Unimpaired. Each Holder of an Allowed Class 2 Claim

                       17   is conclusively presumed to have accepted the Plan under section 1126(f) of the Bankruptcy Code.

                       18   Each Holder of an Allowed Class 2 Claim is not entitled to vote to accept or reject the Plan.

                       19            (c)   Class 3 — General Unsecured Claims

                       20                  (1)     Classification: Class 3 consists of all General Unsecured Claims against the

                       21   Debtors.

                       22                  (2)     Treatment: Each Holder of an Allowed General Unsecured Claim shall

                       23   receive payment in Cash in an amount equal to the amount of such Allowed General Unsecured

                       24   Claim. The Allowed amount of any Class 3 General Unsecured Claim shall include all interest

                       25   accrued from the Petition Date through the date of distribution at the Federal Judgment Rate;

                       26   provided, however, that in the event that the Court determines that another interest rate should

                       27   apply the Debtors will modify the Plan accordingly. The Liquidating Trustee will pay undisputed

                       28   Allowed General Unsecured Claims within 60 days of the Effective Date.
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                        1                   (3)     Voting: Class 3 is Impaired. Each Holder of an Allowed Class 3 Claim is

                        2   entitled to vote to accept or reject the Plan.

                        3           (d)     Class 4 — Intercompany Claims

                        4                   (1)     Classification: Class 4 consists of all Intercompany Claims against the

                        5   Debtors.

                        6                   (2)     Treatment: Holders of Allowed Intercompany Claims will receive no

                        7   distribution under the Plan.

                        8                   (3)     Voting: Class 4 is Impaired. Each Holder of an Allowed Class 4 Claim is

                        9   deemed to have rejected the Plan under section 1126(g) of the Bankruptcy Code. Each Holder of

                       10   an Allowed Class 4 Claim is not entitled to vote to accept or reject the Plan.

                       11           (e)     Class 5 — Intercompany Interests

                       12                   (1)     Classification: Class 5 consists of CPES AZ’s Interests in Novelles and

                       13   CPES CA.

                       14                   (2)     Treatment: Each Allowed Intercompany Interest shall, at the Debtors’

                       15   election: (a) be Reinstated for administrative convenience; or (b) be canceled and released without

                       16   any distribution on account to of such Interests. Upon the payment in full of Allowed Class 3

                       17   General Unsecured Claims, all Intercompany Interests shall be distributed to CPES AZ, their 100%

                       18   owner, for distribution to creditors of CPES AZ including the ESOP.

                       19                   (3)     Voting: Class 5 is Unimpaired, and each Holder of an Allowed Class 5

                       20   Intercompany Interest is conclusively presumed to have accepted the Plan under section 1126(f)

                       21   of the Bankruptcy Code.

                       22           (f)     Class 6 — Equity Interests

                       23                   (1)     Classification: Class 6 consists of Equity Interests in CPES AZ held by the

                       24   ESOP.

                       25                   (2)     Treatment: Each Equity Interest shall be canceled on the Effective Date of

                       26   the Plan. Allowed Class 6 Equity Interests will be paid a Pro Rata dividend, if any, and only to the

                       27   extent Allowed Class 3 General Unsecured Claims are paid in full, from the remaining net proceeds

                       28   of the Liquidating Trust Assets. Notwithstanding anything to the contrary in this Plan, the ESOP
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                        1   Trustee shall retain responsibility, standing, and authority to commence, prosecute and settle

                        2   lawsuits or actions on behalf of the holders of beneficial interests to the Equity Interest in the

                        3   ESOP.

                        4                  (3)     Voting: Class 6 is Impaired. The ESOP Trustee, on behalf of the ESOP

                        5   Trust, the sole Holder of Class 6 Equity Interests, is entitled to vote to accept or reject the Plan.

                        6   3.3     Special Provision Governing Unimpaired Claims and Interests

                        7           Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’

                        8   or the Liquidating Trustee’s rights regarding any Unimpaired Claim or Interest, including all rights

                        9   regarding legal and equitable defenses to or setoffs or recoupments against any such Unimpaired

                       10   Claim or Interest.

                       11   3.4     Elimination of Vacant Classes

                       12           Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or
                       13   Allowed Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court as of the
                       14   date of the Confirmation Hearing shall be deemed eliminated from the Plan for purposes of voting
                       15   to accept or reject the Plan and for purposes of determining acceptance or rejection of the Plan by
                       16   such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.
                       17   3.5     Voting Classes; Presumed Acceptance by Non-Voting Classes
                       18           If a Class of Claims or Interests is eligible to vote and no Holder of Claims or Interests, as
                       19   applicable, in such Class votes to accept or reject the Plan, the Plan shall be presumed accepted by
                       20   such Class.

                       21   3.6     Nonconsensual Confirmation

                       22           If any Class of Claims or Interests entitled to vote does not vote to accept the Plan, the

                       23   Debtors reserve the right to amend the Plan, to undertake to have the Bankruptcy Court confirm

                       24   the Plan under section 1129(b) of the Bankruptcy Code, or both. With respect to any Impaired

                       25   Classes that are deemed to reject the Plan, the Debtors intend to request that the Bankruptcy Court

                       26   confirm the Plan under section 1129(b) of the Bankruptcy Code notwithstanding the deemed

                       27   rejection of the Plan by those Classes.

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                        1                                              ARTICLE IV

                        2                    PROVISIONS REGARDING THE LIQUIDATING TRUST

                        3   4.1    Overview

                        4          The Plan provides for the disposition of substantially all the assets of the Debtors and their

                        5   Estates and the distribution of the net proceeds thereof to Holders of Allowed Claims, consistent

                        6   with the priority provisions of the Bankruptcy Code. The Plan further provides for the winding

                        7   down of the Debtors and their affairs by the Liquidating Trustee. The Plan also creates a

                        8   mechanism for the Liquidating Trustee and the ESOP Trustee to pursue Claims and Causes of

                        9   Action to enable recoveries to Creditors herein.

                       10   4.2    Settlement and Adjustment of Claims and Interests of the Debtors and their Estates

                       11          Pursuant to section 1123(b) of the Bankruptcy Code and, to the extent applicable,
                       12   Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases, and other
                       13   benefits provided under the Plan, on the Effective Date, the provisions of the Plan shall constitute
                       14   a good-faith compromise and settlement of all Claims, Interests, Causes of Action belonging to
                       15   the Debtors and their Estates that are released, settled, compromised, discharged, satisfied, or
                       16   otherwise resolved pursuant to the Plan; and the entry of the Confirmation Order shall constitute
                       17   the Bankruptcy Court’s approval of such compromise and settlement under section 1123(b) of the
                       18   Bankruptcy Code and, to the extent applicable, Bankruptcy Rule 9019, as well as a finding by the
                       19   Bankruptcy Court that such settlement and compromise is fair, equitable, reasonable, and in the
                       20   best interests of the Debtors and their Estates.

                       21   4.3    Sources of Consideration for Distributions under the Plan

                       22          The Debtors will fund distributions under the Plan with Cash on hand on the Effective Date

                       23   and the revenues and proceeds of all assets of the Debtors, including the Sale Transaction proceeds

                       24   and all Causes of Action not settled, released, discharged, enjoined, or exculpated under the Plan

                       25   or otherwise on or prior to the Effective Date.

                       26   4.4    Vesting and Transfer of Assets to the Liquidating Trust

                       27          Under section 1141(b) of the Bankruptcy Code, on the Effective Date, the assets of the

                       28   Debtors, including their books and records but, for the avoidance of doubt, excluding Direct ESOP
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                        1   Claims, shall vest automatically in the Liquidating Trust for the purpose of liquidating the Estates,

                        2   free and clear of all Liens, Claims, charges, or other encumbrances. For the avoidance of doubt,

                        3   the transfer of the Debtors’ assets and the proceeds of any Causes of Action to the Liquidating

                        4   Trust shall not result in the incurrence of fees payable to the U.S. Trustee.

                        5           The Liquidating Trustee may abandon or otherwise not accept any assets that the

                        6   Liquidating Trustee believes, in good faith, to have no value to, or will be unduly burdensome to,

                        7   the Liquidating Trust in accordance with the terms of the Liquidating Trust Agreement. Any assets

                        8   that the Liquidating Trustee so abandons or otherwise does not accept shall not be property of the

                        9   Liquidating Trust. As of the Effective Date, all Liquidating Trust Assets vest in the Liquidating

                       10   Trust and all assets dealt with in the Plan shall be free and clear of all Liens, Claims, and Interests

                       11   except as otherwise specifically provided in the Plan or in the Confirmation Order.

                       12           The books and records shall vest in the Liquidating Trust as of the Effective Date in

                       13   accordance with all HIPAA requirements and regulations. The Liquidating Trustee is authorized

                       14   to treat and/or abandon the books and records consistent with the provisions of this Plan and the

                       15   Liquidating Trust Agreement.

                       16           To the extent not paid in full in Cash on the Effective Date, reserves for payment of

                       17   Disputed Claims and Professional Fee Claims shall be set aside and held by Liquidating Trustee

                       18   until such Claims are approved, Allowed and authorized to be paid, by the Bankruptcy Court.

                       19   4.5     Appointment of the Liquidating Trustee

                       20           Prior to the Effective Date, the Debtors and the Liquidating Trustee shall execute the

                       21   Liquidating Trust Agreement. The Liquidating Trust Agreement shall contain provisions

                       22   customary to trust agreements utilized in comparable circumstances, including, but not limited to,

                       23   any and all provisions necessary to ensure the continued treatment of the Liquidating Trust as a

                       24   grantor trust.

                       25           The Liquidating Trustee will be deemed appointed as of the Effective Date. The

                       26   Liquidating Trustee will pay or otherwise make distributions on account of all Allowed Claims

                       27   against the Debtors in accordance with the terms of the Plan. The Liquidating Trustee shall be

                       28   appointed as the Estates’ representative by the Bankruptcy Court under section 1123(b)(3)(B) of
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                        1   the Bankruptcy Code. The Liquidating Trustee shall retain and have all the rights, powers, and

                        2   duties necessary to carry out its responsibilities under the Plan and as otherwise provided in the

                        3   Confirmation Order.

                        4          The Liquidating Trustee shall be appointed for the sole purpose of effectuating this Plan

                        5   and performing under the terms hereof and the Liquidating Trust Agreement, including liquidating

                        6   and distributing the Debtors’ assets, including, without limitation, the collection of the Debtors’

                        7   accounts receivable and Causes of Action (excluding Direct ESOP Claims), and with no objective

                        8   to engage in the conduct of a trade or business. For the avoidance of doubt, collection of the

                        9   Debtors’ accounts receivable shall not constitute engaging in the conduct of a trade or business.

                       10   4.6    Rights and Powers of the Liquidating Trustee

                       11          The powers of the Liquidating Trustee shall include any and all powers and authority to
                       12   implement the Plan and to administer and distribute the Distribution Proceeds and wind down the
                       13   business and affairs of the Debtors, including: (a) liquidating, receiving, holding, investing,
                       14   supervising, and protecting the assets of the Estates; (b) taking all steps to execute all instruments
                       15   and documents necessary to effectuate the distributions to be made under the Plan from the
                       16   Distribution Proceeds or otherwise; (c) making distributions as contemplated under the Plan;
                       17   (d) establishing and maintaining bank accounts on behalf of the Estates; (e) subject to the terms
                       18   set forth herein, employing, retaining, terminating, or replacing professionals to represent it with
                       19   respect to its responsibilities or otherwise effectuating the Plan to the extent necessary; (f) paying
                       20   all reasonable fees, expenses, debts, charges, and liabilities of the Debtors’ Estates;

                       21   (g) administering and paying taxes of the Debtors’ Estates, including filing tax returns;

                       22   (h) representing the interests of the Estates before any taxing authority in all matters, including

                       23   any action, suit, proceeding, or audit; and (i) exercising such other powers as may be vested in it

                       24   pursuant to order of the Bankruptcy Court or pursuant to the Plan, or as it reasonably deems to be

                       25   necessary and proper to carry out the provisions of the Plan.

                       26          The Liquidating Trustee may resign at any time upon 30 days’ written notice delivered to

                       27   the Bankruptcy Court; provided that such resignation shall only become effective upon the

                       28   appointment of a permanent or interim successor Liquidating Trustee. Upon its appointment, the
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                        1   successor Liquidating Trustee, without any further act, shall become fully vested with all of the

                        2   rights, powers, duties, and obligations of its predecessor and all responsibilities of the predecessor

                        3   Liquidating Trustee relating to the Debtors’ Estates shall be terminated.

                        4          (a)     Retention of Professionals

                        5          The Liquidating Trustee shall have the right to retain the services of attorneys, accountants,

                        6   and other professionals that, in the discretion of the Liquidating Trustee, are necessary to assist the

                        7   Liquidating Trustee in the performance of its duties. The reasonable fees and expenses of such

                        8   professionals shall be paid from the Wind-Down Reserve upon the monthly submission of

                        9   statements to the Liquidating Trustee. The payment of the reasonable fees and expenses of the

                       10   Liquidating Trustee’s retained professionals shall be made in the ordinary course of business from

                       11   the Wind-Down Reserve and shall not be subject to the approval of the Bankruptcy Court.

                       12          (b)     Compensation of the Liquidating Trustee

                       13          The Liquidating Trustee’s compensation, on a post-Effective Date basis, shall be as

                       14   described in the Plan Supplement and paid out of the Wind-Down Reserve. Except as otherwise

                       15   ordered by the Bankruptcy Court, the fees and expenses incurred by the Liquidating Trustee on or

                       16   after the Effective Date (including taxes) and any reasonable compensation and expense

                       17   reimbursement Claims (including attorney fees and expenses) made by the Liquidating Trustee in

                       18   connection with such Liquidating Trustee’s duties shall be paid without any further notice to, or

                       19   action, order, or approval of, the Bankruptcy Court in Cash from the Wind-Down Reserve if such

                       20   amounts relate to any actions taken hereunder.

                       21          (c)     Liquidating Trustee Expenses

                       22          All costs, expenses, and obligations incurred by the Liquidating Trustee in administering

                       23   this Plan or in any manner connected, incidental, or related thereto, in effecting distributions from

                       24   the Liquidating Trust (including the reimbursement of reasonable expenses) shall be a charge

                       25   against the assets of the Estates remaining from time to time in the hands of the Liquidating

                       26   Trustee. Such costs, expenses, and obligations shall be paid from the Wind-Down Reserve.

                       27          The Debtors and the Liquidating Trustee, as applicable, shall not be required to give any

                       28   bond or surety or other security for the performance of its duties unless otherwise ordered by the
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                        1   Bankruptcy Court. However, in the event that the Liquidating Trustee is so ordered after the

                        2   Effective Date, all costs and expenses of procuring any such bond or surety shall be paid for with

                        3   Cash from the Wind-Down Reserve.

                        4          (d)     Exculpation, Indemnification, Insurance and Liability Limitation

                        5          The Liquidating Trustee and all professionals retained by the Liquidating Trustee, each in

                        6   their capacities as such, shall be deemed exculpated and indemnified, except for fraud, willful

                        7   misconduct, or gross negligence, in all respects by the Debtors’ Estates. The Liquidating Trustee

                        8   may obtain, at the expense of the Estates and with funds from the Wind-Down Reserve,

                        9   commercially reasonable liability, errors and omissions, directors and officers, or other appropriate

                       10   insurance with respect to the indemnification obligations of the Estates. The Liquidating Trustee

                       11   may rely upon written information previously generated by the Debtors.

                       12          Notwithstanding anything to the contrary contained herein, the Liquidating Trustee in its

                       13   capacity as such, shall have no liability whatsoever to any party for the liabilities and/or

                       14   obligations, however created, whether direct or indirect, in tort, contract, or otherwise, of the

                       15   Debtors.

                       16                                               ARTICLE V

                       17                ADDITIONAL MEANS FOR IMPLEMENTATION OF THE PLAN

                       18   5.1    Plan Transactions

                       19          Before, on, and after the Effective Date, the Debtors or the Liquidating Trustee , as
                       20   applicable, shall take all actions as may be necessary or appropriate to effectuate the terms of this

                       21   Plan, including: (a) the execution and delivery of any appropriate agreements or other documents

                       22   of merger, consolidation, restructuring, conversion, disposition, transfer, dissolution, or liquidation

                       23   containing terms that are consistent with the terms of the Plan, and that satisfy the requirements of

                       24   applicable law and any other terms to which the applicable Entities may agree; (b) the execution

                       25   and delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any

                       26   asset, property, right, liability, debt, or obligation on terms consistent with the terms of the Plan

                       27   and having other terms for which the applicable parties agree; (c) the filing of appropriate

                       28   certificates or articles of incorporation, reincorporation, merger, consolidation, conversion, or
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                        1   dissolution pursuant to applicable state law; (d) such other transactions that are required to

                        2   effectuate the Plan; and (e) all other actions that the applicable Entities determine to be necessary

                        3   or appropriate, including making filings or recordings that may be required by applicable law.

                        4   5.2    Preservation of Causes of Action

                        5          Unless any Cause of Action against an Entity is expressly waived, relinquished, exculpated,

                        6   released, compromised, or settled in the Plan or a Final Order, in accordance with section 1123(b)

                        7   of the Bankruptcy Code, all rights to commence, prosecute, or settle, as appropriate, any and all

                        8   Causes of Action (excluding Direct ESOP Claims), whether arising before or after the Petition

                        9   Date, shall vest in the Liquidating Trust and be enforceable by the Liquidating Trustee pursuant to

                       10   the terms of the Plan. Except for any Cause of Action against an Entity that is expressly waived,

                       11   relinquished, exculpated, released, compromised, or settled in the Plan or a Final Order, in

                       12   accordance with section 1123(b) of the Bankruptcy Code, the Liquidating Trustee may enforce all

                       13   rights to commence, prosecute, or settle, as appropriate, any and all Causes of Action, whether

                       14   arising before or after the Petition Date, and the Liquidating Trustee’s rights to commence,

                       15   prosecute, or settle such Causes of Action (excluding Direct ESOP Claims) shall be preserved

                       16   notwithstanding the occurrence of the Effective Date.

                       17          The Liquidating Trustee may, in its reasonable business judgment, pursue such Causes of

                       18   Action and may retain and compensate professionals in the analysis or pursuit of such Causes of

                       19   Action to the extent the Liquidating Trustee deems appropriate, including on a contingency fee

                       20   basis. No Entity may rely on the absence of a specific reference in the Plan or the Disclosure

                       21   Statement to any Cause of Action against them as any indication that the Liquidating Trustee will

                       22   not pursue any and all available Causes of Action against them. The Liquidating Trustee expressly

                       23   reserves all rights to prosecute any and all Causes of Action against any Entity, except as otherwise

                       24   expressly provided in the Plan. Unless any Cause of Action against an Entity is expressly waived,

                       25   relinquished, exculpated, released, compromised, or settled in the Plan or a Final Order, the

                       26   Liquidating Trustee expressly reserves all Causes of Action for later adjudication, and, therefore,

                       27   no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion,

                       28   claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes
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                        1   of Action upon, after, or as a consequence of the Confirmation or Consummation. The Liquidating

                        2   Trustee reserves and shall retain the foregoing Causes of Action notwithstanding the rejection of

                        3   any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan.

                        4   The Liquidating Trustee shall have the exclusive right, authority, and discretion to determine and

                        5   to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to

                        6   judgment any such Causes of Action, or to decline to do any of the foregoing, without the consent

                        7   or approval of any third party or any further notice to, or action, order, or approval of, the

                        8   Bankruptcy Court.

                        9          For the avoidance of doubt, all references to Causes of Action in this section exclude Direct

                       10   ESOP Claims which are held by the ESOP Trustee.

                       11   5.3    Preservation of Right to Conduct Investigations
                       12          The preservation for the Liquidating Trust of any and all rights to conduct investigations
                       13   under Bankruptcy Rule 2004 is necessary and relevant to the Liquidating Trust and with respect
                       14   to the prosecution of Litigation Claims and the administration of the Liquidating Trust Assets.
                       15   Accordingly, any and all rights to conduct investigations under Bankruptcy Rule 2004 held by the
                       16   Debtors prior to the Effective Date shall vest with the Liquidating Trust and shall continue until
                       17   dissolution of the Liquidating Trust.
                       18   5.4    Prosecution and Resolution of Litigation Claims
                       19          From and after the Effective Date, the Liquidating Trust shall have the sole responsibility,
                       20   standing (including derivative standing), and authority to prosecute and settle all Litigation Claims

                       21   under the Plan and the Confirmation Order. From and after the Effective Date, the Liquidating

                       22   Trust shall have exclusive rights, powers, and interests of the Estates, subject to the provisions of

                       23   the Plan Documents and the Sale Documents, to pursue, settle, or abandon such Litigation Claims

                       24   as the sole representatives of the Estates under section 1123(b)(3) of the Bankruptcy Code. Any

                       25   and all Litigation Claims that are not expressly released or waived under the Plan are reserved and

                       26   preserved and vest in the Liquidating Trust in accordance with the Plan. No Entity may rely on the

                       27   absence of a specific reference in the Plan or the Plan Supplements to any Litigation Claim against

                       28   it as any indication that the Debtors or Liquidating Trustee will not investigate or pursue any and
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                        1   all available Litigation Claims against such Entity. Such Litigation Claims may include, but are

                        2   not limited to, claims for breach of fiduciary duties by certain officers and directors, claims

                        3   grounded in tort, claims for negligence, claims based upon breach of contract, and claims for

                        4   professional malpractice, to the fullest extent permitted by law. The Liquidating Trustee expressly

                        5   reserves all Litigation Claims, except for Litigation Claims against any Entity that are expressly

                        6   released or waived under the Plan or have otherwise been released under any agreement or Final

                        7   Order, and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral

                        8   estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches,

                        9   shall apply to such Litigation Claims upon, after, or as a consequence of Confirmation or

                       10   substantial consummation of the Plan.

                       11   5.5    Privileges as to Certain Causes of Action
                       12          Effective as of the Effective Date, all Privileges of the Debtors relating to the Liquidating
                       13   Trust Assets shall be deemed transferred, assigned, and delivered to the Liquidating Trust, without
                       14   waiver or release, and shall vest with the Liquidating Trust. The Liquidating Trustee shall hold
                       15   and be the beneficiary of all such Privileges and is entitled to assert such Privileges. No such
                       16   Privilege shall be waived by disclosures to the Liquidating Trustee of the Debtors’ documents,
                       17   information, or communications subject to attorney-client privileges, work product protections or
                       18   other immunities (including those related to common interest or joint defense with third parties),
                       19   or protections from disclosure held by the Debtors. The Debtors’ Privileges relating to the
                       20   Liquidating Trust Assets will remain subject to the rights of third parties under applicable law,

                       21   including any rights arising from the common interest doctrine, the joint defense doctrine, joint

                       22   attorney-client representation, or any agreement. Nothing contained herein or in the Confirmation

                       23   Order, nor any Professional’s compliance herewith and therewith, shall constitute a breach of any

                       24   Privileges of the Debtors.

                       25   5.6    Corporate Action

                       26          Upon the Effective Date, all actions contemplated under the Plan, regardless of whether

                       27   taken before, on, or after the Effective Date, shall be deemed authorized and approved in all

                       28   respects (whether to occur before, on, or after the Effective Date). All matters provided for in the
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                        1   Plan or deemed necessary or desirable by the Debtors before, on, or after the Effective Date

                        2   involving the corporate structure of the Debtors and any corporate action required by the Debtors

                        3   in connection with the Plan or corporate structure of the Debtors, shall be deemed to have occurred

                        4   and shall be in effect on the Effective Date, without any requirement of further action by the

                        5   security Holders, directors or officers of the Debtors. Before the Effective Date, the appropriate

                        6   officers of the Debtors, and on or after the Effective Date, the Liquidating Trustee on behalf of the

                        7   Debtors’ Estates, as applicable, shall be authorized to issue, execute, and deliver the agreements,

                        8   documents, securities, and instruments contemplated under the Plan (or necessary or desirable to

                        9   effect the transactions contemplated under the Plan). The authorizations and approvals

                       10   contemplated by this Section 5.6 shall be effective notwithstanding any requirements under non-

                       11   bankruptcy law.

                       12   5.7    Termination of ESOP.
                       13          As the Plan provides for liquidation of substantially all of the Debtors’ assets, and CPES
                       14   AZ has ceased all business operations and contributions to the ESOP, CPES AZ shall terminate
                       15   the CPES Employee Stock Ownership Plan effective as of the Confirmation Date. The CPES
                       16   Employee Stock Ownership Trust will be unaffected.
                       17   5.8    Effectuating Documents; Further Transactions
                       18          Prior to the Effective Date, the Debtors are, and on and after the Effective Date, the
                       19   Liquidating Trustee is, authorized to and may issue, execute, deliver, file, or record such contracts,
                       20   securities, instruments, releases, and other agreements or documents and take such actions as may

                       21   be necessary or appropriate to effectuate, implement, and further evidence the terms and conditions

                       22   of the Plan, without the need for any approvals, authorizations, notice, or consents, except for those

                       23   expressly required pursuant to the Plan.

                       24          As soon as practicable after the Effective Date, the Liquidating Trustee shall: (1) cause the

                       25   Debtors to comply with, and abide by, the terms of the Purchase Agreements and any other

                       26   documents contemplated thereby; (2) to the extent applicable, file a certificate of dissolution or

                       27   equivalent document, together with all other necessary corporate and company documents, to

                       28   effect the dissolution of the Debtors under the applicable laws of their state of incorporation or
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                        1   formation (as applicable); and (3) take such other actions as the Liquidating Trustee may determine

                        2   to be necessary or desirable to carry out the purposes of the Plan. Any certificate of dissolution or

                        3   equivalent document may be executed by the Liquidating Trustee without need for any action or

                        4   approval by the shareholders or board of directors of any Debtor. From and after the Effective

                        5   Date, the Debtors (1) for all purposes shall be deemed to have withdrawn their business operations

                        6   from any state in which the Debtors were previously conducting, or are registered or licensed to

                        7   conduct, their business operations, and shall not be required to file any document, pay any sum, or

                        8   take any other action in order to effectuate such withdrawal, (2) shall be deemed to have canceled

                        9   pursuant to this Plan all Interests, and (3) shall not be liable in any manner to any taxing authority

                       10   for franchise, business, license, or similar taxes accruing on or after the Effective Date.

                       11   Notwithstanding the Debtors’ dissolution, the Debtors shall be deemed to remain intact solely with

                       12   respect to the preparation, filing, review, and resolution of applications for Professional Claims.

                       13   5.9    Insurance Policies
                       14          Nothing in the Plan, the Disclosure Statement, the Confirmation Order, or the Liquidating
                       15   Trust Agreement, alters the rights and obligations of the Debtors (and their Estates) and the
                       16   Debtors' insurers (and third-party claims administrators) under the Insurance Policies or modifies
                       17   the coverage or benefits provided thereunder or the terms and conditions thereof or diminishes or
                       18   impairs the enforceability of the Insurance Policies, including any replacement or tail policies or
                       19   coverages. All of the Debtors’ Estates’ benefits, rights, interests and proceeds under any Insurance
                       20   Policy to which the Debtors and/or the Debtors’ Estates may be insureds or beneficiaries shall vest

                       21   with the Liquidating Trust for the benefit of the Beneficiaries of the Liquidating Trust and all of

                       22   the beneficiaries of such policies.

                       23   5.10   Filing of Monthly and Quarterly Reports and Payment of Statutory Fees

                       24          The Filing of the final monthly operating report (for the month in which the Effective Date

                       25   occurs) and all subsequent quarterly Liquidating Trust reports shall be the responsibility of the

                       26   Liquidating Trustee. All Statutory Fees shall be payable as set forth in Section 2.4 hereof and such

                       27   obligation shall continue until such time as the Chapter 11 Cases are closed, dismissed, or

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                        1   converted. All monthly operating reports covering pre-Effective Date periods shall be prepared

                        2   and filed by the Debtors.

                        3   5.11   Exemption from Certain Taxes and Fees

                        4          Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property under this

                        5   Plan, including any issuance, transfer or exchange of any security, shall not be subject to any

                        6   document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, stamp

                        7   act, real estate transfer tax, sale or use tax, mortgage recording tax, or other similar tax or

                        8   governmental assessment, and upon entry of the Confirmation Order, the appropriate state or local

                        9   governmental officials or agents shall forgo the collection of any such tax or governmental

                       10   assessment and accept for filing and recordation any of the foregoing instruments or other

                       11   documents pursuant to such transfers of property without the payment of any such tax, recordation

                       12   fee, or governmental assessment.

                       13   5.12   Tax Returns

                       14          After the Effective Date, the Liquidating Trustee, or an accounting firm that the Liquidating
                       15   Trustee designates and provides oversight, shall complete and file all final or otherwise required
                       16   federal, state, and local tax returns for each of the Debtors, as applicable, and, pursuant to section
                       17   505(b) of the Bankruptcy Code, may request an expedited determination of any unpaid tax liability
                       18   of any Debtor or its Estate for any tax incurred during the administration of such Debtor’s Chapter
                       19   11 Case, as determined under applicable tax laws.
                       20   5.13   Wind-Down

                       21          On and after the Effective Date and except as provided in the Purchase Agreements, the

                       22   Liquidating Trustee will be authorized to implement the Plan and any applicable orders of the

                       23   Bankruptcy Court, and the Liquidating Trustee shall have the power and authority to take any

                       24   action necessary to wind down and dissolve the Debtors’ Estates.

                       25          Unless otherwise provided in this Plan, the Debtors shall be dissolved as soon as practicable

                       26   on or after the Effective Date. The Liquidating Trustee shall have the power and authority to take

                       27   any action necessary to wind down and dissolve any of the Debtors, and shall: (a) file a certificate

                       28   of dissolution for any of the Debtors, together with all other necessary corporate and company
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                        1   documents, to effect the dissolution of such Debtor under the applicable laws of its state of

                        2   formation; and (b) complete and file all final or otherwise required federal, state, and local tax

                        3   returns and shall pay taxes required to be paid for any of the Debtors, and pursuant to section

                        4   505(b) of the Bankruptcy Code, request an expedited determination of any unpaid tax liability of

                        5   any of the Debtors or their Estates for any tax incurred during the administration of such Debtor’s

                        6   Chapter 11 Case, as determined under applicable tax laws.

                        7   5.14   Dissolution of the Debtors

                        8          Upon a certification to be Filed with the Bankruptcy Court by the Liquidating Trustee of

                        9   all distributions having been made and completion of all its duties under the Plan and entry of a

                       10   final decree closing the last of the Chapter 11 Cases, the Debtors shall be deemed to be dissolved

                       11   without any further action by the Debtors, including the filing of any documents with the secretary

                       12   of state for the state in which each Debtor is formed or any other jurisdiction. The Liquidating

                       13   Trustee, however, shall have authority to take all necessary actions to dissolve the Debtors in and

                       14   withdraw the Debtors from the applicable states.

                       15                                            ARTICLE VI

                       16          TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                       17   6.1    Assumption or Rejection of Executory Contracts and Unexpired Leases

                       18          On the Effective Date, except as otherwise provided herein, each Executory Contract and
                       19   Unexpired Lease not previously rejected, assumed, or assumed and assigned, including any
                       20   employee benefit plans and other Executory Contracts under which employee obligations arise,

                       21   shall be deemed automatically rejected pursuant to sections 365 and 1123 of the Bankruptcy Code,

                       22   unless such Executory Contract or Unexpired Lease: (1) is specifically described in the Plan as to

                       23   be assumed in connection with confirmation of the Plan, or is specifically scheduled to be assumed

                       24   or assumed and assigned pursuant to the Plan or the Plan Supplement; (2) is subject to a pending

                       25   motion to assume such Unexpired Lease or Executory Contract as of the Effective Date; (3) is to

                       26   be assumed by the Debtors or assumed by the Debtors and assigned to another third party, as

                       27   applicable, in connection with the Sale Transactions; or (4) is a contract, instrument, release,

                       28   indenture, or other agreement or document entered into in connection with the Plan. Entry of the
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                        1   Confirmation Order by the Bankruptcy Court shall constitute approval of such assumptions,

                        2   assignments, and rejections, including the assumption of the Executory Contracts or Unexpired

                        3   Leases as provided in the Plan Supplement, pursuant to sections 365(a) and 1123 of the Bankruptcy

                        4   Code.

                        5   6.2     Rejection Damages Claims and Objections to Rejections

                        6           Pursuant to section 502(g) of the Bankruptcy Code, counterparties to Executory Contracts

                        7   or Unexpired Leases that are rejected shall have the right to assert Claims, if any, on account of

                        8   the rejection of such contracts and leases. Unless otherwise provided by a Bankruptcy Court order,

                        9   any Proofs of Claim asserting Claims arising from the rejection of Executory Contracts and

                       10   Unexpired Leases pursuant to the Plan must be filed with the Claims and Solicitation Agent no

                       11   later than 30 days after the later of the Confirmation Date or the effective date of rejection. Any

                       12   such Proofs of Claim that are not timely filed shall be disallowed without the need for any further

                       13   notice to or action, order, or approval of the Bankruptcy Court. Such Proofs of Claim shall be

                       14   forever barred, estopped, and enjoined from assertion. Moreover, such Proofs of Claim shall not

                       15   be enforceable against the Debtors’ Estates, without the need for any objection by the Liquidating

                       16   Trustee or any further notice to or action, order, or approval of the Bankruptcy Court, and any

                       17   Claim arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed

                       18   fully satisfied, released, and discharged notwithstanding anything in a Proof of Claim to the

                       19   contrary. All Allowed Claims arising from the rejection of Executory Contracts and Unexpired

                       20   Leases shall be classified as Class 3 General Unsecured Claims against the applicable Debtor

                       21   counterparty thereto.

                       22   6.3     Indemnification Obligations

                       23           All indemnification obligations in place as of the Effective Date (whether in the by-laws,

                       24   certificates of incorporation or formation, limited liability company agreements, other

                       25   organizational or formation documents, board resolutions, indemnification agreements,

                       26   employment contracts, or otherwise) for the post-petition directors, officers, trustees, managers,

                       27   employees, attorneys, accountants, investment bankers, and other professionals of the Debtors, as

                       28   applicable, shall be assumed and remain in full force and effect after the Effective Date, and shall
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                        1   not be modified, reduced, discharged, impaired, or otherwise affected in any way, and shall survive

                        2   Unimpaired and unaffected, irrespective of when such obligation arose.

                        3   6.4    Director and Officer Insurance

                        4          To the extent that the D&O Insurance Policies are considered to be Executory Contracts,

                        5   notwithstanding anything in the Plan to the contrary, effective as of the Effective Date, the Debtors

                        6   shall be deemed to have assumed all D&O Insurance Policies with respect to the Debtors’ and each

                        7   of its or their, as appropriate, Affiliates’, directors, trustees, managers, officers, and employees

                        8   serving on or before the Petition Date pursuant to section 365(a) of the Bankruptcy Code, and

                        9   coverage for defense and indemnity under any of the D&O Insurance Policies shall remain

                       10   available to all individuals within the definition of “Insured” in any of the D&O Insurance Policies.

                       11   Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of the Debtors’

                       12   foregoing assumption of each of the unexpired D&O Insurance Policies. Notwithstanding anything

                       13   to the contrary contained herein, Confirmation of the Plan shall not discharge, impair, or otherwise

                       14   modify any indemnity obligations assumed by the foregoing assumption of the D&O Insurance

                       15   Policies, and each such indemnity obligation will be deemed and treated as an Executory Contract

                       16   that has been assumed by the Debtors under the Plan as to which no Proof of Claim need be Filed.

                       17   6.5    Modifications, Amendments, Supplements, Restatements, or Other Agreements

                       18          Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that
                       19   is assumed shall include all modifications, amendments, supplements, restatements, or other
                       20   agreements that in any manner affect such Executory Contract or Unexpired Lease, and Executory

                       21   Contracts and Unexpired Leases related thereto, if any, including easements, licenses, permits,

                       22   rights, privileges, immunities, options, rights of first refusal, and any other interests, unless any of

                       23   the foregoing agreements has been previously rejected or repudiated or is rejected or repudiated

                       24   under the Plan.

                       25           Modifications, amendments, supplements, and restatements to prepetition Executory

                       26   Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11

                       27   Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired

                       28   Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.
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                        1   6.6    Reservation of Rights

                        2          Neither the exclusion nor inclusion of any contract or lease in the Plan Supplement, nor

                        3   anything contained in the Plan, shall constitute an admission by the Debtors that any such contract

                        4   or lease is in fact an Executory Contract or Unexpired Lease or that any Debtor has any liability

                        5   thereunder. If there is a dispute regarding whether a contract or lease is or was executory or

                        6   unexpired at the time of assumption or rejection, the Debtors or Liquidating Trustee, as applicable,

                        7   shall have 45 days following entry of a Final Order resolving such dispute to alter their treatment

                        8   of such contract or lease.

                        9   6.7    Non-occurrence of the Effective Date

                       10          In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
                       11   jurisdiction with respect to any request to extend the deadline for assuming or rejecting any
                       12   Unexpired Leases pursuant to section 365(d)(4) of the Bankruptcy Code.
                       13                                              ARTICLE VII
                       14                          PROVISIONS GOVERNING DISTRIBUTIONS
                       15   7.1    Distributions on Account of Claims and Interests Allowed as of the Effective Date
                       16          (a)     Delivery of Distributions in General
                       17          Except as otherwise provided in the Plan, a Final Order, or as otherwise agreed to by the
                       18   Debtors or the or Liquidating Trustee, as applicable, and the Holder of the applicable Claim or
                       19   Interest, on the first Distribution Date, the Distribution Agent shall make initial distributions under
                       20   the Plan on account of Claims and Interests Allowed on or before the Effective Date, subject to

                       21   the Liquidating Trustee’s right to object to Claims and Interests; provided, however, that (1)

                       22   Allowed Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary

                       23   course of business during the Chapter 11 Cases or assumed by the Debtors prior to the Effective

                       24   Date shall be paid or performed in the ordinary course of business in accordance with the terms

                       25   and conditions of any controlling agreements, course of dealing, course of business, or industry

                       26   practice, and (2) Allowed Priority Tax Claims and Allowed Secured Tax Claims shall be paid in

                       27   accordance with Sections 2.3 and 3.2, respectively. The first Distribution Date for Claims Allowed

                       28   on or before the Effective Date shall be as soon as reasonably practical after the Effective Date,
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                        1   but no later than ten (10) Business Days following the Effective Date. To the extent any Allowed

                        2   Priority Tax Claim or Allowed Secured Tax Claim is not due and owing on the Effective Date,

                        3   such Claim shall be paid in full in Cash in accordance with the terms of any agreement between

                        4   the Debtors or Liquidating Trustee and the Holder of such Claim or as may be due and payable

                        5   under applicable non-bankruptcy law or in the ordinary course of business.

                        6   7.2    Special Rules for Distributions to Holders of Disputed Claims and Interests

                        7          Notwithstanding any provision otherwise in the Plan and except as otherwise agreed by the

                        8   relevant parties, no partial payments and no partial distributions shall be made with respect to a

                        9   Disputed Claim or Interest until all such disputes in connection with such Disputed Claim or

                       10   Interest have been resolved by settlement or Final Order, provided, however that if a portion of a

                       11   Claim is not Disputed, the Distribution Agent shall make a partial distribution based on such

                       12   portion of such Claim that is not Disputed.

                       13   7.3    Delivery of Distributions
                       14          (a)     Record Date for Distributions
                       15          On the Distribution Record Date, the Claims Register shall be closed and the Distribution
                       16   Agent shall be authorized and entitled to recognize only those record Holders, if any, listed on the
                       17   Claims Register as of the close of business on the Distribution Record Date. Notwithstanding the
                       18   foregoing, if a Claim or Interest, other than one based on a publicly traded Certificate, is transferred
                       19   fewer than 20 days before the Distribution Record Date, the Distribution Agent shall make
                       20   distributions to the transferee only to the extent practical and in any event only if the relevant

                       21   transfer form contains an unconditional and explicit certification and waiver of any objection to

                       22   the transfer by the transferor.

                       23          (b)     Distribution Process

                       24          The Distribution Agent shall make all distributions required under the Plan, except that

                       25   distributions to Holders of Allowed Claims or Interests governed by a separate agreement and

                       26   administered by a Servicer shall be deposited with the appropriate Servicer, at which time such

                       27   distributions shall be deemed complete, and the Servicer shall deliver such distributions in

                       28   accordance with the Plan and the terms of the governing agreement. Except as otherwise provided
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                        1   in the Plan, and notwithstanding any authority to the contrary, distributions to Holders of Allowed

                        2   Claims and Interests, including Claims and Interests that become Allowed after the Distribution

                        3   Record Date, shall be made to Holders of record as of the Distribution Record Date by the

                        4   Distribution Agent or a Servicer, as appropriate: (1) to the address of such Holder as set forth in

                        5   the books and records of the applicable Debtor (or if the Debtors have been notified in writing, on

                        6   or before the date that is 14 days before the Effective Date, of a change of address, to the changed

                        7   address); (2) in accordance with Federal Rule of Civil Procedure 4, as modified and made

                        8   applicable by Bankruptcy Rule 7004, if no address exists in the Debtors books and records, no

                        9   Proof of Claim has been filed and the Distribution Agent has not received a written notice of a

                       10   change of address on or before the date that is 14 days before the Effective Date; or (3) to any

                       11   counsel that has appeared in the Chapter 11 Cases on the Holder’s behalf. The Debtors, the

                       12   Liquidating Trustee, and the Distribution Agent, as applicable, shall not incur any liability

                       13   whatsoever on account of any distributions under the Plan.

                       14          (c)     Compliance Matters

                       15          In connection with the Plan, to the extent applicable, the Liquidating Trustee and the

                       16   Distribution Agent shall comply with all tax withholding and reporting requirements imposed on

                       17   them by any Governmental Unit, and all distributions pursuant to the Plan shall be subject to such

                       18   withholding and reporting requirements. Notwithstanding any provision in the Plan to the contrary,

                       19   the Liquidating Trustee and the Distribution Agent shall be authorized to take all actions necessary

                       20   or appropriate to comply with such withholding and reporting requirements, including liquidating

                       21   a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable

                       22   withholding taxes, withholding distributions pending receipt of information necessary to facilitate

                       23   such distributions, or establishing any other mechanisms they believe are reasonable and

                       24   appropriate. The Liquidating Trustees reserve the right to allocate all distributions made under the

                       25   Plan in compliance with all applicable wage garnishments, alimony, child support, and other

                       26   spousal awards, liens, and encumbrances.

                       27          (d)     Foreign Currency Exchange Rate

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                        1            Except as otherwise provided in a Bankruptcy Court order, any Claim asserted in currency

                        2   other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value

                        3   using the exchange rate for the applicable currency as published in The Wall Street Journal,

                        4   National Edition, on the Petition Date, without further notice, hearing, or order of the Bankruptcy

                        5   Court.

                        6            (e)    Undeliverable, and Unclaimed Distributions

                        7                   (1)    Undeliverable Distributions. If any distribution to a Holder of an Allowed

                        8   Claim or Interest is returned to a Distribution Agent as undeliverable, no further distributions shall

                        9   be made to such Holder unless and until such Distribution Agent is notified in writing of such

                       10   Holder’s then-current address or other necessary information for delivery, at which time all

                       11   currently due missed distributions shall be made to such Holder on the next Distribution Date.

                       12   Undeliverable distributions shall remain in the possession of the Liquidating Trustee until such

                       13   time as a distribution becomes deliverable or is cancelled pursuant to Section 7.3(e)(2), and shall

                       14   not be supplemented with any interest, dividends, or other accruals of any kind.

                       15                   (2)    Reversion. Any distribution under the Plan that is an Unclaimed

                       16   Distribution for a period of six months after distribution shall be deemed unclaimed property under

                       17   section 347(b) of the Bankruptcy Code and such Unclaimed Distribution shall revest in the

                       18   Liquidating Trust. Upon such revesting, the Claim or Interest of any Holder or its successors with

                       19   respect to such property shall be cancelled, discharged, and forever barred notwithstanding any

                       20   applicable federal or state escheat, abandoned, or unclaimed property laws, or any provisions in

                       21   any document governing the distribution that is an Unclaimed Distribution, to the contrary.

                       22   7.4      Claims Paid or Payable by Third Parties

                       23            (a)    Claims Paid by Third Parties

                       24            A Claim shall be reduced in full, and such Claim shall be disallowed without a Claims

                       25   objection having to be filed and without any further notice to or action, order, or approval of the

                       26   Bankruptcy Court, to the extent that the Holder of such Claim receives payment in full on account

                       27   of such Claim from a party that is not a Debtor or Liquidating Trustee. To the extent a Holder of a

                       28   Claim receives a distribution on account of such Claim and receives payment from a party that is
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                        1   not a Debtor or Liquidating Trustee on account of such Claim, such Holder shall repay, return or

                        2   deliver any distribution held by or transferred to the Holder to the Liquidating Trustee to the extent

                        3   the Holder’s total recovery on account of such Claim from the third party and under the Plan

                        4   exceeds the amount of such Claim as of the date of any such distribution under the Plan.

                        5          (b)       Claims Payable by Insurance Carriers

                        6          No distributions under the Plan shall be made on account of an Allowed Claim that is

                        7   payable pursuant to one of the Debtors’ insurance policies until the Holder of such Allowed Claim

                        8   has exhausted all remedies with respect to such insurance policy. To the extent that one or more

                        9   of the Debtors’ insurers agrees to satisfy in full a Claim (if and to the extent adjudicated by a court

                       10   of competent jurisdiction), then immediately upon such insurers’ agreement, such Claim may be

                       11   disallowed to the extent of any agreed upon satisfaction on the Claims Register by the Claims and

                       12   Solicitation Agent without a Claims objection having to be filed and without any further notice to

                       13   or action, order, or approval of the Bankruptcy Court.

                       14          (c)       Applicability of Insurance Policies

                       15          Except as otherwise provided herein, distributions to Holders of Allowed Claims shall be

                       16   in accordance with the provisions of an applicable insurance policy. Nothing contained in the Plan

                       17   shall constitute or be deemed a waiver of any Cause of Action that the Debtors or any Entity may

                       18   hold against any other Entity, including insurers under any policies of insurance, nor shall anything

                       19   contained herein constitute or be deemed a waiver by such insurers of any defenses, including

                       20   coverage defenses, held by such insurers.

                       21   7.5    Setoffs

                       22          Except as otherwise provided herein, the Debtors and Liquidating Trustee, as applicable,

                       23   retain the right to reduce any Claim by way of setoff in accordance with the Debtors’ books and

                       24   records. Rights of a setoff against any Entity are preserved for the purpose of asserting such rights

                       25   as a defense to any Claims or Causes of Action of the Debtors, their Estates, or the Liquidating

                       26   Trustee and regardless of whether such Entity is the Holder of an Allowed Claim. In no event shall

                       27   any Holder of Claims be entitled to set off any Claim against any Claim, right, or Cause of Action

                       28   of the Debtors or the Liquidating Trustee, as applicable, unless such Holder has filed a motion
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                        1   with the Bankruptcy Court requesting the authority to perform such setoff on or before the

                        2   Confirmation Date, and notwithstanding any indication in any Proof of Claim or otherwise that

                        3   such Holder asserts, has, or intends to preserve any right of setoff pursuant to section 553 or

                        4   otherwise.

                        5   7.6    Allocation Between Principal and Accrued Interest

                        6          Except as otherwise provided in the Plan, the aggregate consideration paid to Holders with

                        7   respect to their Allowed Claims shall be treated pursuant to the Plan as allocated first to the

                        8   principal amount of such Allowed Claims (to the extent thereof) and, thereafter, to the interest, if

                        9   any, accrued through the Petition Date.

                       10   7.7    De-Minimis Distribution and Donation
                       11          There shall be no Distribution on account of Allowed General Unsecured Claims to the
                       12   extent such Distribution will result in a payment of less than $50.00 to the Holder of such Claim,
                       13   and such amount otherwise payable upon such Claim shall revert back to the Liquidating Trust.
                       14   Unless otherwise set forth in the Plan, the Liquidating Trustee may donate remaining Liquidating
                       15   Trust Assets to a charitable institution if the Distribution of such assets is too costly, too
                       16   burdensome, or impracticable.
                       17                                             ARTICLE VIII
                       18          PROCEDURES FOR RESOLVING DISPUTED CLAIMS AND INTERESTS
                       19   8.1    Disputed Claims Process
                       20          Except as otherwise provided herein, if a party files a proof of claim and the Debtors or

                       21   Liquidating Trustee, as applicable, do not determine in their sole discretion, and without the need

                       22   for notice to or action, order or approval of the Bankruptcy Court, that the Claim subject to such

                       23   proof of claim is Allowed, such Claim shall be Disputed unless Allowed or disallowed by a Final

                       24   Order or as otherwise set forth in this Article VIII. Except as otherwise provided herein, all proofs

                       25   of claim filed after the Effective Date shall be disallowed and forever barred, estopped, and

                       26   enjoined from assertion, and shall not be enforceable against any Debtor’s Estate, without the need

                       27   for any objection by the Liquidating Trustee or any further notice to or action, order, or approval

                       28   of the Bankruptcy Court.
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                        1   8.2     Prosecution of Objections to Claims and Interests

                        2           Except insofar as a Claim or Interest is Allowed under the Plan, the Debtors, the

                        3   Liquidating Trustee or any other party in interest shall be entitled to object to the Claim or Interest.

                        4   Any objections to Claims and Interests shall be served and filed on or before the Claims Objection

                        5   Bar Date. All Claims and Interests not objected to by the end of such period shall be deemed

                        6   Allowed. From and after the Effective Date, the Liquidating Trustee shall have exclusive rights,

                        7   powers, and interests of the Estates, subject to the Plan Documents, to pursue, settle or abandon

                        8   such Claims objections as the sole representative of the Estates under section 1123(b)(3) of the

                        9   Bankruptcy Code. For the avoidance of doubt, except as otherwise provided in the Plan, from and

                       10   after the Effective Date, the Liquidating Trustee shall have and retain any and all rights and

                       11   defenses each Debtor had immediately prior to the Effective Date with respect to any Disputed

                       12   Claim or Interest, including any Causes of Action against the Holder of such Disputed Claim or

                       13   Interest.

                       14   8.3     Interest
                       15           Unless otherwise specifically provided for in the Plan or by order of the Bankruptcy Court,
                       16   postpetition interest shall not accrue or be paid on Claims, and no Holder of a Claim shall be
                       17   entitled to interest accruing on or after the Petition Date on any Claim or right. Additionally, and
                       18   without limiting the foregoing, interest shall not accrue or be paid on any Disputed Claim with
                       19   respect to the period from the Effective Date to the date a final distribution is made on account of
                       20   such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim. To the extent

                       21   that the Debtors hold any real or personal property, including cash, or any Distribution Proceeds

                       22   or funds remain in the Disputed Claim Reserve or Wind-Down Reserve after the payment of all

                       23   Allowed Claims in Class 3 in accordance with the terms of the Plan, the Liquidating Trustee shall

                       24   file a motion or any other Creditor may file a motion with the Bankruptcy Court on notice to the

                       25   ESOP Trustee and the U.S. Trustee seeking payment of postpetition interest at an interest rate to

                       26   be decided by the Bankruptcy Court in accordance with applicable law and equity.

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                        1   8.4    Disallowance of Claims and Interests

                        2          All Claims and Interests of any Entity from which property is sought by the Debtors under

                        3   section 542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors allege is a transferee of

                        4   a transfer that is avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the

                        5   Bankruptcy Code shall be disallowed if: (a) the Entity, on the one hand, and the Debtors, on the

                        6   other hand, agree or the Bankruptcy Court has determined by Final Order that such Entity or

                        7   transferee is liable to turn over any property or monies under any of the aforementioned sections

                        8   of the Bankruptcy Code and (b) such Entity or transferee has failed to turn over such property by

                        9   the date set forth in such agreement or Final Order.

                       10                                             ARTICLE IX

                       11                          EFFECT OF CONFIRMATION OF THE PLAN

                       12   9.1    Term of Injunctions or Stays
                       13          Unless otherwise provided in the Plan or the Confirmation Order, all injunctions or stays
                       14   in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
                       15   order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or
                       16   stays contained in the Plan or the Confirmation Order), shall remain in full force and effect until
                       17   the Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall
                       18   remain in full force and effect in accordance with their terms.
                       19   9.2    Releases by the Debtors
                       20          Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable

                       21   consideration, on and after the Effective Date, each Released Party is deemed released and

                       22   discharged by each of the Debtors and the Estates from any and all Causes of Action,

                       23   including any derivative claims asserted on behalf of the Debtors, that the Debtors, their

                       24   Estates, or the Liquidating Trust would have been legally entitled to assert in their own right

                       25   (whether individually or collectively) or on behalf of the Holder of any Claim or Interest, or

                       26   that any Holder of any Claim or Interest could have asserted on behalf of the Debtors, based

                       27   on or relating to, or in any manner arising from, in whole or in part:

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                        1          (a)    the Debtors, the Debtors’ in- or out-of-court restructuring efforts,

                        2                 intercompany transactions, the formulation, preparation, dissemination,

                        3                 negotiation, or filing of the Plan Documents;

                        4          (b)    any Plan Document, contract, instrument, release, or other agreement or

                        5                 document (including providing any legal opinion requested by any Person or

                        6                 Entity regarding any transaction, contract, instrument, document, or other

                        7                 agreement contemplated by the Plan or the reliance by any Released Party on

                        8                 the Plan or the Confirmation Order in lieu of such legal opinion) created or

                        9                 entered into in connection with the Disclosure Statement or the Plan;

                       10          (c)    the Chapter 11 Cases, the Disclosure Statement, the Plan, the Purchase

                       11                 Agreements, the filing of the Chapter 11 Cases, the pursuit of Confirmation,

                       12                 the pursuit of Consummation, the administration and implementation of the

                       13                 Plan, including the distribution of property under the Plan or any other

                       14                 related agreement; or

                       15          (d)    the business or contractual arrangements between any Debtor and any

                       16                 Released Party, and any other act or omission, transaction, agreement, event,

                       17                 or other occurrence taking place on or before the Effective Date relating to

                       18                 any of the foregoing.

                       19          Notwithstanding anything to the contrary in the foregoing, the releases set forth above

                       20   do not release (i) any post-Effective Date obligations of any Person or Entity under the Plan,

                       21   any Plan Document, or any document, instrument, or agreement (including those set forth

                       22   in the Plan Supplement) executed to implement the Plan, (ii) any Cause of Action related to

                       23   any act or omission that is determined in a Final Order to have constituted actual fraud,

                       24   willful misconduct, or gross negligence, or (iii) any of the Litigation Claims, but in all

                       25   respects the Released Parties shall be entitled to reasonably rely upon the advice of counsel

                       26   with respect to their duties and responsibilities pursuant to the Plan.

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                        1          For the avoidance of doubt, the releases set forth in this Section 9.2 shall not prohibit

                        2   the Liquidating Trustee from asserting any and all defenses and counterclaims in respect of

                        3   any Disputed Claim asserted by any Released Parties.

                        4          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval

                        5   of the release set forth in this Section 9.2, which includes by reference each of the related

                        6   provisions and definitions contained herein, and further, shall constitute the Bankruptcy

                        7   Court’s finding that such release is: (a) in exchange for the good and valuable consideration

                        8   provided by the Released Parties; (b) in the best interests of the Debtors and all Holders of

                        9   Claims and Interests; (c) fair, equitable, and reasonable; (d) given and made after due notice

                       10   and opportunity for hearing; and (e) a bar to any of the Debtors asserting any Claim or

                       11   Cause of Action released by this Section 9.2.

                       12   9.3    Exculpation
                       13          Except as otherwise specifically provided in the Plan, no Exculpated Party shall have
                       14   or incur, and each Exculpated Party is hereby released and exculpated from any Cause of
                       15   Action for any claim related to any act or omission in connection with, relating to, or arising
                       16   out of, the Chapter 11 Cases, the Disclosure Statement, the Plan, the Sale Transactions, the
                       17   Purchase Agreements, or any Plan Document, contract, instrument, release or other
                       18   agreement or document (including providing any legal opinion requested by any Person or
                       19   Entity regarding any transaction, contract, instrument, document, or other agreement
                       20   contemplated by the Plan or the reliance by any Exculpated Party on the Plan or the

                       21   Confirmation Order in lieu of such legal opinion) created or entered into in connection with

                       22   the Disclosure Statement or the Plan, the filing of the Chapter 11 Cases, the pursuit of

                       23   Confirmation, the pursuit of Consummation, the administration and implementation of the

                       24   Plan, including the distribution of property under the Plan or any other related agreement,

                       25   except for claims related to any act or omission that is determined in a final order to have

                       26   constituted actual fraud, willful misconduct, or gross negligence, but in all respects such

                       27   Persons and Entities shall be entitled to reasonably rely upon the advice of counsel with

                       28   respect to their duties and responsibilities pursuant to the Plan. The Exculpated Parties have,
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                        1   and upon closing of the Chapter 11 Cases or the Effective Date shall be deemed to have,

                        2   participated in good faith and in compliance with the applicable laws with regard to the

                        3   solicitation of, and distribution of, consideration pursuant to the Plan and, therefore, are not,

                        4   and on account of such distributions shall not be, liable at any time for the violation of any

                        5   applicable law, rule, or regulation governing the solicitation of acceptances or rejections of

                        6   the Plan or such distributions made pursuant to the Plan.

                        7   9.4    Injunction

                        8          Pursuant to section 1141(d)(3) of the Bankruptcy Code, confirmation of this Plan does not

                        9   operate to discharge the Debtors; provided, however, that, upon confirmation of the Plan, the

                       10   occurrence of the Effective Date, and the distributions provided for under the Plan, the Holders of

                       11   Claims and Equity Interests may not seek payment or recourse against or otherwise be entitled to

                       12   any distribution from the Estates or Liquidating Trust except as expressly provided in the Plan.

                       13   Further, the following terms apply except as otherwise expressly provided in the Plan or to the

                       14   extent necessary to enforce the terms and conditions of the Plan:

                       15          (a)     Except as otherwise provided in the Plan, from and after the Effective Date, all

                       16                  Entities are permanently enjoined from commencing or continuing in any manner

                       17                  against the Debtors, the Estates, the Committee, the Debtor Representative, the

                       18                  Liquidating Trust, the Liquidating Trustee, their successors and assigns, and their

                       19                  assets and properties, as the case may be, any suit, action or other proceeding, on

                       20                  account of or respecting any Claim or Equity Interest, demand, liability, obligation,

                       21                  debt, right, Cause of Action, interest or remedy released or satisfied or to be

                       22                  released or satisfied under the Plan or the Confirmation Order.

                       23          (b)     Except as otherwise expressly provided for in the Plan or in obligations issued

                       24                  under the Plan, from and after the Effective Date, all Entities shall be precluded

                       25                  from asserting against the Debtors, the Estates, the Committee, the Debtor

                       26                  Representative, the Liquidating Trust, the Liquidating Trustee, or their successors

                       27                  and assigns and their assets and properties, any other Claims or Equity Interests

                       28                  based upon any documents, instruments, or any act or omission, transaction or other
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                        1             activity of any kind or nature that occurred prior to the Effective Date, solely to the

                        2             extent that (a) such Claims or Equity Interests have been released or satisfied under

                        3             this Plan or the Confirmation Order or (b) such Claims, Equity Interests, actions or

                        4             assertions of Liens relate to property that will be distributed under this Plan or the

                        5             Confirmation Order.

                        6       (c)   The rights afforded in the Plan and the treatment of all Claims and Equity Interests

                        7             in the Plan shall be in exchange for and in complete satisfaction of Claims and

                        8             Equity Interests against the Debtors or any of their assets or properties solely to the

                        9             extent that (a) such Claims or Equity Interests have been released or satisfied under

                       10             this Plan or the Confirmation Order or (b) such Claims, Equity Interests, actions,

                       11             or assertions of Liens relate to property that will be distributed under this Plan or

                       12             the Confirmation Order. On the Effective Date, all such Claims against, and Equity

                       13             Interests in, the Debtors shall be satisfied and released in full.

                       14       (d)   Except as otherwise expressly provided for in the Plan or in obligations issued

                       15             under the Plan, all Entities are permanently enjoined, on and after the

                       16             Effective Date, on account of any Claim or Equity Interest satisfied and

                       17             released under the Plan or Confirmation Order, from (a) commencing or

                       18             continuing in any manner any action or other proceeding of any kind against

                       19             any Debtor, the Liquidating Trust, the Liquidating Trustee, their successors

                       20             and assigns, and their assets and properties; (b) enforcing, attaching,

                       21             collecting or recovering by any manner or means any judgment, award, decree

                       22             or order against any Debtor, the Liquidating Trust, the Liquidating Trustee,

                       23             their successors and assigns, and their assets and properties; (c) creating,

                       24             perfecting or enforcing any encumbrance of any kind against any Debtor, or

                       25             the property or estate of any Debtor, the Liquidating Trust, or the Liquidating

                       26             Trustee; and (d) commencing or continuing in any manner any action or other

                       27             proceeding of any kind in respect of any Claim or Equity Interest or Cause of

                       28             Action released or settled hereunder.
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                        1       (e)   Upon the entry of the Confirmation Order, all Holders of Claims and Equity

                        2             Interests and other parties in interest, along with their respective Related Persons,

                        3             shall be enjoined from taking any actions to interfere with the implementation or

                        4             consummation of the Plan.

                        5       (f)   As of the Effective Date, to the extent not enjoined by the other provisions of

                        6             this Article IX, all Persons and Entities who have held, hold, or may hold

                        7             Claims against the Debtors, are permanently enjoined, on and after the

                        8             Confirmation Date, from (a) commencing or continuing in any manner any

                        9             action or other proceeding of any kind against the Debtors, the Debtors’

                       10             respective property, the Debtors’ Estates, the Liquidating Trust, the

                       11             Liquidating Trust Assets, or the Liquidating Trustee with respect to any such

                       12             Claim or taking any act to recover such Claim outside of the claims allowance

                       13             procedure discussed in this Plan and the Bankruptcy Code and Bankruptcy

                       14             Rules; (b) the enforcement, attachment, collection, or recovery by any manner

                       15             or means of any judgment, award, decree, or order against the Debtors, the

                       16             Debtors’ respective property, the Debtors’ Estates, the Liquidating Trust, the

                       17             Liquidating Trust Assets, or the Liquidating Trustee on account of any such

                       18             Claim; (c) creating, perfecting, or enforcing any encumbrance of any kind

                       19             against the Debtors, the Debtors’ respective property, the Debtors’ estates, the

                       20             Liquidating Trust, the Liquidating Trust Assets, or the Liquidation Trustee

                       21             on account of any such Claim; and (d) asserting any right of setoff,

                       22             subrogation, or recoupment of any kind against any obligation due from the

                       23             Debtors, the Debtors’ estates, the Liquidating Trust, the Liquidating Trust

                       24             Assets, or the Liquidating Trustee, or against the property or interests in

                       25             property of the Debtors, the Debtors’ estates, the Liquidating Trust, the

                       26             Liquidating Trust Assets, or the Liquidating Trustee on account of any such

                       27             Claim, unless such Person or Entity has timely asserted such setoff right in a

                       28             document filed with the Bankruptcy Court explicitly preserving such setoff,
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                        1                  and notwithstanding an indication of a claim or interest or otherwise that such

                        2                  Entity asserts, has, or intends to preserve, any right of setoff pursuant to

                        3                  applicable law or otherwise.

                        4          (g)     All injunctive provisions of this Article IX shall extend for the benefit of the

                        5                  Liquidating Trustee and any successors of the Debtors, and to any property and

                        6                  interests in property subject to this Plan.

                        7   9.5    Release of Liens and Cancellation of Documents

                        8          Except as otherwise provided herein or in any contract, instrument, release, or other

                        9   agreement or document created pursuant to the Plan, on the Effective Date, all mortgages, deeds

                       10   of trust, Liens, pledges, or other security interests against any property of the Estates shall be fully

                       11   released and discharged, and all of the right, title, and interest of any Holder of such mortgages,

                       12   deeds of trust, Liens, pledges, or other security interests shall revert to the Debtors and their

                       13   successors and assigns.

                       14          In addition, on the Effective Date, except to the extent otherwise provided in this Plan, any

                       15   and all notes, instruments, debentures, certificates, and other documents evidencing Claims against

                       16   the Debtors shall be deemed inoperative and unenforceable solely as against the Debtors and their

                       17   Estates.

                       18          Nothing contained in this Plan shall revive, preserve, or transfer any Claims or Liens that

                       19   have been released pursuant to any prior order of the Bankruptcy Court.

                       20   9.6    Reimbursement or Contribution

                       21          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of a Person

                       22   or Entity pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such

                       23   Claim is contingent as of the Effective Date, such Claim shall be forever disallowed

                       24   notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the Effective Date (a) such

                       25   Claim has been adjudicated as noncontingent or (b) the relevant Holder of a Claim has filed a

                       26   noncontingent Proof of Claim on account of such Claim and a Final Order has been entered

                       27   determining such Claim as no longer contingent.

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                        1                                             ARTICLE X

                        2                   CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

                        3   10.1   Conditions Precedent to the Effective Date.

                        4          It shall be a condition to the Effective Date that the following conditions shall have been

                        5   satisfied or waived pursuant to Section 10.2:

                        6          (a)     The Plan Documents shall be in form and substance reasonably acceptable to

                        7   the Debtors and the ESOP Trustee.

                        8          (b)     The Confirmation Order shall have been entered, shall be in form and

                        9   substance reasonably acceptable to the Debtors and the ESOP Trustee, and shall have

                       10   become a Final Order in full force and effect with no stay thereof then in effect.

                       11          (c)     The Debtors shall have obtained all authorizations, consents, regulatory

                       12   approvals, rulings, or documents that are necessary to implement and effectuate the Plan

                       13   and each of the other transactions contemplated by the Plan Documents, including, without

                       14   limitation, the transactions contemplated by the Liquidating Trust Agreement.

                       15          (d)     The Debtors shall have paid or reserved for all Statutory Fees due to the U.S.

                       16   Trustee.

                       17          (e)     The appointment of the Liquidating Trustee and the terms of his service and

                       18   compensation shall have been confirmed by the Bankruptcy Court in the Confirmation

                       19   Order, and the Liquidating Trustee shall have accepted in writing such terms.

                       20          (f)     All agreements and instruments that are exhibits to the Plan, including the

                       21   Liquidating Trust Agreement, shall be in a form reasonably acceptable to the Debtors and

                       22   the ESOP Trustee and have been duly executed and delivered.

                       23          (g)     The Debtors shall have paid or reserved for all expenses and payments due to

                       24   be made on the Effective Date of the Plan.

                       25          (h)     All other actions, authorizations, consents and regulatory approvals required

                       26   (if any) and necessary to implement the provisions of the Plan shall have been obtained,

                       27   effected or executed in a manner acceptable to the Debtors and the ESOP Trustee or, if

                       28   waivable, waived by the Person or Persons entitled to the benefit thereof.
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                        1   10.2   Waiver of Conditions Precedent

                        2          The Debtors, with the written consent of the ESOP Trustee, may waive any of the

                        3   conditions to the Effective Date set forth in Section 10.1 any time without any notice to any other

                        4   parties in interest and without any further notice to or action, order, or approval of the Bankruptcy

                        5   Court, and without any formal action other than proceeding to confirm or consummate the Plan.

                        6   10.3   Establishing the Effective Date

                        7          The calendar date to serve as the Effective Date shall be a Business Day of, on, or promptly

                        8   following the satisfaction or waiver of all conditions the Effective Date, which date will be selected

                        9   by the Debtors in consultation with the ESOP Trustee.

                       10   10.4   Effect of Non-Occurrence of Conditions to Consummation
                       11          If prior to Consummation, the Confirmation Order is vacated pursuant to a Final Order,
                       12   then except as provided in any order of the Bankruptcy Court vacating the Confirmation Order,
                       13   the Plan will be null and void in all respects, and nothing contained in the Plan or Disclosure
                       14   Statement shall: (a) constitute a waiver or release of any Claims, Interests, or Causes of Action;
                       15   (b) prejudice in any manner the rights of any Debtor or any other Entity; or (c) constitute an
                       16   admission, acknowledgment, offer, or undertaking of any sort by any Debtor or any other Entity.
                       17                                              ARTICLE XI
                       18            MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN
                       19   11.1   Modification of Plan
                       20          Effective as of the date hereof: (a) the Debtors reserve the right, in accordance with the

                       21   Bankruptcy Code and the Bankruptcy Rules, to amend or modify the Plan and any exhibits thereto,

                       22   including, without limitation, the Plan Supplement, before the entry of the Confirmation Order,

                       23   subject to the limitations set forth herein; and (b) after the entry of the Confirmation Order, the

                       24   Debtors or the Liquidating Trustee, with the consent of the ESOP Trustee,, as applicable, may,

                       25   upon order of the Bankruptcy Court, amend or modify the Plan, in accordance with section 1127(b)

                       26   of the Bankruptcy Code, remedy any defect or omission, or reconcile any inconsistency in the Plan

                       27   in such manner as may be necessary to carry out the purpose and intent of the Plan, subject to the

                       28   limitations set forth herein and, if effective, the Purchase Agreement.
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                        1   11.2   Revocation or Withdrawal of Plan

                        2          The Debtors reserve the right to revoke or withdraw the Plan before the Confirmation Date

                        3   and to file subsequent chapter 11 plans. If the Debtors revoke or withdraw the Plan, or if

                        4   Confirmation or the Effective Date does not occur, then: (a) the Plan will be null and void in all

                        5   respects; (b) any settlement or compromise embodied in the Plan, assumption or rejection of

                        6   Executory Contracts or Unexpired Leases effected by the Plan, and any document or agreement

                        7   executed pursuant hereto will be null and void in all respects; and (c) nothing contained in the Plan

                        8   shall (1) constitute a waiver or release of any Claims, Interests, or Causes of Action, (2) prejudice

                        9   in any manner the rights of any Debtor or any other Entity, or (3) constitute an admission,

                       10   acknowledgement, offer, or undertaking of any sort by any Debtor or any other Entity.

                       11                                             ARTICLE XII

                       12                                 RETENTION OF JURISDICTION

                       13          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective

                       14   Date, the Bankruptcy Court shall retain jurisdiction, to the maximum extent permitted by

                       15   applicable law, over all matters arising out of, or related to, the Chapter 11 Cases and the Plan

                       16   pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including specifically jurisdiction

                       17   to:

                       18          (a)      allow, disallow, determine, liquidate, classify, estimate, or establish the

                       19   priority, secured or unsecured status, or amount of any Claim or Interest, including the

                       20   resolution of any request for payment of any Claim or Interest and the resolution of any and

                       21   all objections to the secured or unsecured status, priority, amount, or allowance of Claims

                       22   or Interests;

                       23          (b)      decide and resolve all matters related to the granting and denying, in whole or

                       24   in part, any applications for allowance of compensation or reimbursement of expenses to

                       25   Professionals authorized pursuant to the Bankruptcy Code or the Plan;

                       26          (c)      resolve any matters related to Executory Contracts or Unexpired Leases,

                       27   including: (a) the assumption, assumption and assignment, or rejection of any Executory

                       28   Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor
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                        1   may be liable and to hear, determine, and, if necessary, liquidate, any Cure or Claims arising

                        2   therefrom, including pursuant to section 365 of the Bankruptcy Code; (b) any potential

                        3   contractual obligation under any Executory Contract or Unexpired Lease that is assumed;

                        4   (c) the Liquidating Trustee’s amendment, modification, or supplement, after the Effective

                        5   Date, pursuant to ARTICLE VI, of the list of Executory Contracts and Unexpired Leases to

                        6   be assumed; and (d) any dispute regarding whether a contract or lease is or was executory

                        7   or expired;

                        8          (d)    ensure that distributions to Holders of Allowed Claims are accomplished

                        9   pursuant to the provisions of the Plan and adjudicate any and all disputes arising from or

                       10   relating to distributions under the Plan;

                       11          (e)    adjudicate, decide, or resolve any motions, adversary proceedings, contested

                       12   or litigated matters, and any other matters, and grant or deny any applications involving a

                       13   Debtor that may be pending on the Effective Date;

                       14          (f)    enter and implement such orders as may be necessary or appropriate to

                       15   execute, implement, or consummate the provisions of (a) contracts, instruments, releases,

                       16   indentures, and other agreements or documents approved by Final Order in the Chapter 11

                       17   Cases and (b) the Plan or the Confirmation Order, including contracts, instruments, releases,

                       18   indentures, and other agreements or documents created in connection with the Plan;

                       19          (g)    enforce any order for the sale of property pursuant to sections 363, 1123, or

                       20   1146(a) of the Bankruptcy Code;

                       21          (h)    grant any consensual request to extend the deadline for assuming or rejecting

                       22   Unexpired Leases pursuant to section 365(d)(4) of the Bankruptcy Code;

                       23          (i)    issue injunctions, enter and implement other orders, or take such other actions

                       24   as may be necessary or appropriate to restrain interference by any Entity with

                       25   Consummation or enforcement of the Plan;

                       26          (j)    hear, determine, and resolve any cases, matters, controversies, suits, disputes,

                       27   or Causes of Action in connection with or in any way related to the Chapter 11 Cases,

                       28   including: (a) with respect to the repayment or return of distributions and the recovery of
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                        1   additional amounts owed by the Holder of a Claim or Interest for amounts not timely repaid

                        2   pursuant to Section 7.4(a); (b) with respect to the releases, injunctions, and other provisions

                        3   contained in ARTICLE IX, including entry of such orders as may be necessary or

                        4   appropriate to implement such releases, injunctions, and other provisions; (c) that may arise

                        5   in connection with the Consummation, interpretation, implementation, or enforcement of

                        6   the Plan or the Confirmation Order, or any Entity’s obligations incurred in connection with

                        7   the Plan or the Confirmation Order, including those arising under agreements, documents,

                        8   or instruments executed in connection with the Plan; or (d) related to section 1141 of the

                        9   Bankruptcy Code;

                       10          (k)     enter and implement such orders as are necessary or appropriate if the
                       11   Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated;
                       12          (l)     consider any modifications of the Plan, to cure any defect or omission, or to
                       13   reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation
                       14   Order;
                       15          (m)     hear and determine matters concerning state, local, and federal taxes in
                       16   accordance with sections 346, 505, and 1146 of the Bankruptcy Code;
                       17          (n)     enter an order or Final Decree concluding or closing the Chapter 11 Cases;
                       18          (o)     enforce all orders previously entered by the Bankruptcy Court; and
                       19          (p)     hear any other matter not inconsistent with the Bankruptcy Code.
                       20                                            ARTICLE XIII

                       21                                 MISCELLANEOUS PROVISIONS

                       22   13.1   Additional Documents

                       23          On or before the Effective Date, the Debtors may file with the Bankruptcy Court such

                       24   agreements and other documents as may be necessary or appropriate to effectuate and further

                       25   evidence the terms and conditions of the Plan. The Debtors or the Liquidating Trustee, as

                       26   applicable, and all Holders of Claims and Interests receiving distributions pursuant to the Plan and

                       27   all other parties in interest shall, from time to time, prepare, execute, and deliver any agreements

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                        1   or documents and take any other actions as may be necessary or advisable to effectuate the

                        2   provisions and intent of the Plan.

                        3   13.2    Reservation of Rights

                        4           Except as expressly set forth herein, the Plan shall have no force or effect unless the

                        5   Bankruptcy Court shall enter the Confirmation Order. None of the filing of the Plan, any statement

                        6   or provision contained in the Plan, or the taking of any action by any Debtor with respect to the

                        7   Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed to be an

                        8   admission or waiver of any rights of any Debtor with respect to the Holders of Claims or Interests

                        9   prior to the Effective Date.

                       10   13.3    Successors and Assigns
                       11           The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
                       12   binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
                       13   affiliate, officer, director, trustee, agent, representative, attorney, beneficiary, or guardian, if any,
                       14   of each Entity.
                       15   13.4    Service of Documents
                       16           Any pleading, notice, or other document required by the Plan to be served on or delivered
                       17   to the Debtors or the Liquidating Trustee shall be served on the following parties:
                       18           If to the Debtors (prior to the Effective Date):
                       19
                                    CPESAZ, Inc.
                       20           4805 E. Speedway
                                    Tucson, Arizona 85712
                       21           Attn: Mark G. Monson
                                    President & CEO
                       22           mmonson@cpes.com
                       23
                                    - with a copy to –
                       24
                                    Faegre Drinker Biddle & Reath, LLP
                       25           1800 Century Park East, Suite 1500
                                    Los Angeles, California 90067
                       26           Attn: Jeremy Pelphrey
                                    jeremy.pelphrey@faegredrinker.com
                       27

                       28           If to the Liquidating Trustee (after the Effective Date):
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                        1           [To be provided following election of Liquidating Trustee and counsel thereto]

                        2           After the Effective Date, the Liquidating Trustee shall have the authority to send a notice

                        3   to parties in interest providing that, to continue to receive documents pursuant to Bankruptcy Rule

                        4   2002, such party must File a renewed request to receive documents pursuant to Bankruptcy Rule

                        5   2002. After the Effective Date, Liquidating Trustee is authorized to limit the list of Entities

                        6   receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such

                        7   renewed requests.

                        8   13.5    Entire Agreement

                        9           Except as otherwise indicated, the Plan supersedes all previous and contemporaneous

                       10   negotiations, promises, covenants, agreements, understandings, and representations on such

                       11   subjects, all of which have become merged and integrated into the Plan.

                       12   13.6    Plan Supplement Exhibits
                       13           All exhibits and documents included in the Plan Supplement are incorporated into and are
                       14   a part of the Plan as if set forth in full in the Plan. After the exhibits and documents are filed, copies
                       15   of such exhibits and documents shall be made available upon written request to the Debtors’
                       16   counsel at the address above or by downloading such exhibits and documents from
                       17   https://www.bmcgroup.com/CPES or the Bankruptcy Court’s website at www.cacb.uscourts.gov.
                       18   Unless otherwise ordered by the Bankruptcy Court, to the extent any exhibit or document in the
                       19   Plan Supplement is inconsistent with the terms of any part of the Plan that does not constitute the
                       20   Plan Supplement, such part of the Plan that does not constitute the Plan Supplement shall control.

                       21   13.7    Non-Severability

                       22           If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court

                       23   to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and

                       24   interpret such term or provision to make it valid or enforceable to the maximum extent practicable,

                       25   consistent with the original purpose of the term or provision held to be invalid, void, or

                       26   unenforceable, and such term or provision shall then be applicable as altered or interpreted.

                       27   Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and

                       28   provisions of the Plan will remain in full force and effect and will in no way be affected, impaired,
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                        1   or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall

                        2   constitute a judicial determination and shall provide that each term and provision of the Plan, as it

                        3   may have been altered or interpreted in accordance with the foregoing, is: (a) valid and enforceable

                        4   pursuant to its terms; (b) integral to the Plan and may not be deleted or modified without the

                        5   Debtors’ consent; and (c) nonseverable and mutually dependent.

                        6                                    [Signature page follows.]

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